      Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 1 of 62




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,               )
                                         )
       Plaintiffs,                       )
                                         )
               vs.                       )   Case No. 1:21-cv-02131-CJN
                                         )
PATRICK BYRNE,                           )
                                         )
       Defendant.                        )
                                         )

                   MEMORANDUM IN SUPPORT OF
      DEFENDANT PATRICK BYRNE’S MOTION TO DISMISS COMPLAINT




                                   MCGLINCHEY STAFFORD PLLC
                                   Robert N. Driscoll (DC Bar #486451)
                                   Alfred D. Carry (DC Bar #1011877)
                                   1275 Pennsylvania Avenue NW, Suite 420
                                   Washington, DC 20004
                                   Tel: (202) 802-9999

                                   Counsel for Defendant Patrick Byrne

                                   Dated: November 17, 2021
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 2 of 62




                                               TABLE OF CONTENTS

                                                                                                                                    Pages

I.     INTRODUCTION .............................................................................................................. 1
II.    BACKGROUND ................................................................................................................ 7
       A.        The Parties .............................................................................................................. 7
       B.        Historical Security Concerns about Electronic Voting Machines and
                 Dominion Machines in Particular ........................................................................... 9
       C.        November 2020 Election Lawsuit Claims about Dominion ................................. 11
       D.        Byrne’s Commentary and Dominion’s Subsequent Lawsuit ................................ 15
III.   LEGAL STANDARD....................................................................................................... 15
IV.    ARGUMENT .................................................................................................................... 16
       A.        Byrne’s Statements are Protected under the Fair Report Privilege....................... 17
       B.        Byrne’s Statements are not False, are not Actionable, or are not
                 Defamatory ........................................................................................................... 20
                 1.         Some of the Challenged Statements are not Actionable because
                            they are not “Of and Concerning” Dominion ........................................... 21
                 2.         Some of the Challenged Statements are not Actionable because
                            they are not Publications or are Preempted by Federal Law .................... 23
                 3.         Some of the Challenged Statements are not False .................................... 27
                 4.         Other Statements Consist of Byrne’s Commentary Based on Fully-
                            Disclosed Facts and are thus Protected Opinions ..................................... 28
                 5.         Other Statements are not Capable of Defamatory Meaning or
                            Susceptible to Proof .................................................................................. 30
                            a.         The Broad and Specific Context of Byrne’s Commentary
                                       Confirms These Statements are Constitutionally Protected
                                       as Opinion ..................................................................................... 33
       C.        Dominion Has Failed to Plead that Byrne Acted with Actual Malice .................. 36
                 1.         Dominion is a Public Plaintiff Subject to the Actual Malice
                            Standard .................................................................................................... 37
                            a.         Dominion Qualifies as a Public Official ....................................... 37
                            b.         Dominion Qualifies as a Limited Public Figure ........................... 39
                 2.         Dominion has not Pled Actual Malice under the Knowledge of
                            Falsity Prong ............................................................................................. 40
                 3.         Dominion has not Pled Actual Malice under the Reckless
                            Disregard Prong ........................................................................................ 42

                                                                   i
     Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 3 of 62




                          a.        The Reasonably Prudent Man is not the Yardstick for
                                    Reckless Conduct .......................................................................... 46
                          b.        Preconceived Notions, Suspicions, or Partisan Agendas do
                                    not Show Reckless Conduct.......................................................... 48
                          c.        Refusing to Accept Denials or Demands for Retraction
                                    does not Show Reckless Conduct ................................................. 49
                          d.        Profit Motive does not Show Reckless Conduct........................... 49
                          e.        Alone or Together, Dominion’s Purported Theories for
                                    Reckless Conduct do not Amount to Actual Malice ..................... 52
V.   CONCLUSION ................................................................................................................. 53




                                                              ii
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 4 of 62




                                               TABLE OF AUTHORITIES

                                                                                                                                  Pages

                                                                 Cases
Abrams v. United States,
  250 U.S. 616 (1919) .................................................................................................................. 35
American Freedom Defense Initiative v. Lynch,
  217 F. Supp. 3d 100 (D.D.C. 2016) .......................................................................................... 25
Armstrong v. Thompson,
  80 A.3d 177 (D.C. 2013) .......................................................................................................... 30
Arpaio v. Cottle,
  404 F. Supp. 3d 80 (D.D.C. 2019) ............................................................................................ 41
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ................................................................................................ 15, 16, 40, 46
Atlantic Monthly Group,
  950 F. Supp. 2d 249 (D.D.C. 2013) .......................................................................................... 17
Bauman v. Butowsky,
  377 F. Supp. 3d 1 (D.C. Cir. 2019) .................................................................................... passim
Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................. 15
Biospherics, Inc. v. Forbes, Inc.,
  151 F.3d 180 (4th Cir. 1998) .................................................................................................... 28
Bose Corp. v. Consumers Union of United States, Inc.,
  466 U.S. 485 (1984) .................................................................................................................. 45
Brokers’ Choice of Am., Inc. v. NBC Universal, Inc.,
  138 F. Supp. 3d 1191 (D. Colo. 2015), aff’d, 861 F.3d 1081 (10th Cir. 2017) .......................... 6
BuzzFeed, Inc. v. U.S. Dep’t of Justice, 318 F. Supp. 3d 347 (D.D.C. 2018) .............................. 18
Campbell v. Citizens for an Honest Gov’t, Inc.,
  255 F.3d 560 (8th Cir. 2001) .................................................................................................... 34
Churchill v. State,
  876 A.2d 311 (N.J. Super. Ct. App. Div. 2005)........................................................................ 24
Clemmons v. Academy for Educational Development,
  70 F. Supp. 3d 282 (D.D.C. 2014) ............................................................................................ 30
Competitive Enterprise Institute v. Mann,
  150 A.3d 1213 (D.C. 2016) ...................................................................................................... 31
Croixland Properties Ltd. Partnership v. Corcoran,
  174 F.3d 213 (D.C. Cir. 1999) ...................................................................................... 17, 21, 23


                                                                    iii
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 5 of 62




Crowley v. North Am. Telecomm. Ass’n,
  691 A.2d 1169 (D.C. 1997) ...................................................................................................... 17
Curling v. Raffensperger,
  493 F. Supp. 3d 1264 (N.D. Ga. 2020) ............................................................................... 10, 39
Dameron v. Washington Mag., Inc.,
  779 F.2d 736 (D.C. Cir. 1985) ............................................................................................ 17, 18
Deripaska v. Associated Press,
  282 F. Supp. 3d 133 (D.D.C. 2017) .................................................................................... 30, 40
DiLorenzo v. Norton,
  No. 07-144, 2009 WL 2381237 (D.D.C. Jul. 31, 2009) ............................................................. 1
Doctor’s Data Inc. v. Barrett,
  170 F. Supp. 3d 1087 (N.D. Ill. 2016) ...................................................................................... 24
EEOC v. St. Francis Xavier Parochial Sch.,
  117 F.3d 621 (D.C. Cir. 1997) .................................................................................................... 1
Fairfax v. CBS Corporation,
  2 F.4th 286 (4th Cir. 2021) ......................................................................................................... 6
Farah v. Esquire Mag.,
  736 F.3d 528 (D.C. Cir. 2013) ................................................................................ 23, 33, 34, 36
Foretich v. Glamour,
  741 F. Supp. 247 (D.D.C. 1990) ............................................................................................... 23
Fram v. Yellow Cab Co. of Pittsburg,
  380 F. Supp. 1314 (W.D. Pa. 1974) .......................................................................................... 36
Fridman v. Orbis Bus. Intel. Ltd.,
  229 A.3d 494 (D.C. Cir. 2020) ................................................................................................. 37
Fudge v. Penthouse Intern., Ltd.,
  840 F.2d 1012 (1st Cir. 1988) ................................................................................................... 34
Garrison v. Louisiana,
  379 U.S. 64 (1964) ................................................................................................................ 6, 42
Gertz v. Robert Welch, Inc.,
  418 U.S. 323 (1974) ............................................................................................................ 37, 40
Ghafur v. Bernstein,
  131 Cal. App. 4th 1230 (1st Dist. 2005) ................................................................................... 38
Green v. Northern Publishing Co.,
  655 P.2d 736 (Alaska 1982), cert. denied, 463 U.S. 1208........................................................ 39
Haefner v. N.Y. Media, L.L.C.,
  918 N.Y.S. 2d 103 (App. Div. 2011) ........................................................................................ 24
Harper v. Walters,
  822 F. Supp. 817 (D.D.C. 1993) ............................................................................................... 17


                                                                    iv
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 6 of 62




Harris v. Amalgamated Transit Union Local 689,
  825 F. Supp. 2d 82 (D.D.C. 2011) ............................................................................................ 16
Harte-Hanks Communications, Inc. v. Connaughton,
  491 U.S. 657 (1989) ...................................................................................................... 42, 46, 52
Hatfill v. New York Times Co.,
  488 F. Supp. 2d 522 (E.D. Va. 2007) ....................................................................................... 38
HBO, A Div. of Time Warner Entertainment Co., L.P. v. Harrison,
 983 S.W.2d 31 (Tex. App. Houston 14th Dist. 1998) .............................................................. 38
Herbert v. Lando,
  781 F.2d 298 (2d Cir. 1986)...................................................................................................... 44
Herring Networks, Inc. v. Maddow,
  445 F. Supp. 3d 1042 (S.D. Cal. 2020), aff’d, 8 F. 4th 1148 (9th Cir. 2021) ..................... 33, 35
Horsley v. Rivera,
  292 F.3d 695 (11th Cir. 2002) ............................................................................................ 31, 34
Huon v. Breaking Media, LLC,
  75 F. Supp. 3d 747 (N.D. Ill. 2014),
  aff’d in part, rev’d in part sub nom. Huon v. Denton, 841 F.3d 733 (7th Cir. 2016) ............... 18
Hurd v. District of Columbia,
  864 F.3d 671 (D.C. Cir. 2017) .................................................................................................... 1
In re Overstock Sec. Lit.,
   No. 2:19-cv-00709-DAK, 2021 WL 2043052 (D. Utah Feb. 25, 2021)..................................... 8
In re Phila. Newspapers, L.L.C.,
   690 F.3d 161 (3d Cir. 2012)...................................................................................................... 24
Jankovic v. International Crisis Grp.,
  822 F.3d 576 (D.C. Cir. 2016) ........................................................................................... passim
Johnson v. Arden,
  614 F.3d 785 (8th Cir. 2010) .................................................................................................... 25
Jolevare v. Alpha Kappa Alpha Sorority, Inc.,
  521 F. Supp. 2d 1 (D.D.C. 2007) .............................................................................................. 27
Kowal v. MCI Commc’ns Corp.,
  16 F.3d 1271 (D.C. Cir. 1994) .................................................................................................. 16
La Liberte v. Reid,
  966 F.3d 79 (2d Cir. 2020)........................................................................................................ 26
Lane v. Random House, Inc.,
  985 F. Supp. 141 (D.D.C. 1995) ............................................................................................... 21
Liberty Lobby, Inc. v. Dow Jones & Co.,
  838 F.2d 1287 (D.C. Cir. 1988) ................................................................................................ 40
Libre By Nexus v. Buzzfeed,
  No. 17-cv-1460, 2018 WL 6573281 (D.D.C. Dec. 13, 2018) .................................................. 18

                                                                  v
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 7 of 62




Lohrenz v. Donnelly,
  350 F.3d 1272 (D.C. Cir. 2003) .................................................................................... 40, 45, 49
Lokhova v. Halper,
  441 F. Supp. 3d 238 (E.D. Va. 2020) ....................................................................................... 24
Lorain J. Co. v. Milkovich,
  474 U.S. 953 (1985) .................................................................................................................. 37
Masson v. New Yorker Magazine, Inc.,
 501 U.S. 496 (1991) .................................................................................................................. 27
Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc.,
 674 F.3d 369 (4th Cir. 2012) .................................................................................................... 41
McDougal v. Fox News Network LLC,
 489 F. Supp. 3d 174 (S.D.N.Y. 2020)....................................................................................... 36
McFarlane v. Esquire Magazine,
 74 F.3d 1296 (D.C. Cir. 1996) .................................................................................................. 37
McFarlane v. Sheridan Square Press, Inc.,
 91 F.3d 1501 (D.C. Cir. 1996) ................................................................................ 43, 45, 47, 52
McNamara v. Koehler,
 429 P.3d 6 (Wash. Ct. App. 2018) ............................................................................................ 19
Michaelis v. CBS, Inc.,
  119 F.3d 697 (8th Cir. 1997) .................................................................................................... 33
Milkovich v. Lorain Journal Co.,
  497 U.S. 1 (1990) ............................................................................................................... passim
Moldea v. New York Times Co.,
 22 F.3d 310 (D.C. Cir. 1994) .............................................................................................. 28, 34
Montgomery v. Risen,
 197 F. Supp. 3d 219 (D.D.C. 2016) .......................................................................................... 18
Myers v. D.C. Hous. Auth.,
 No. 1:20-cv-00700-APM, 2021 WL 1167032 (D.D.C. Mar. 26, 2021) ................................... 18
New York Times Co. v. Sullivan,
  376 U.S. 254 (1964) ........................................................................................................ 5, 21, 40
OAO Alfa Bank v. Center for Public Integrity,
 387 F. Supp. 2d 20 (D.D.C. 2005) .............................................................................................. 6
Obado v. Magedson,
  No. 13-2382(JAP), 2014 WL 3778261 (D.N.J. Jul. 31, 2014) ................................................. 25
Parisi v. Sinclar,
  774 F. Supp. 2d 310 (D.D.C. 2011) .......................................................................................... 26
Parsi v. Daioleslam,
  890 F. Supp. 2d 77 (D.D.C. 2012) ............................................................................................ 47


                                                                    vi
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 8 of 62




Phila Newspapers, Inc. v. Hepps,
  475 U.S. 767 (1986) .................................................................................................................. 27
Rosen v. American Israel Public Affairs Comm., Inc.,
  41 A.3d 1250 (D.C. 2012) .................................................................................................. 20, 30
Rosenblatt v. Baer,
  383 U.S. 75 (1966) ........................................................................................................ 21, 37, 38
Schatz v. Republican State Leadership Comm.,
  669 F.3d 50 (1st Cir. 2012) ....................................................................................................... 41
Schnare v. Ziessow,
  104 F’Appx. 847 (4th Cir. 2004) .............................................................................................. 34
Sissel v. U.S. Dep’t of Health & Human Servs.,
   760 F.3d 1 (D.C. Cir. 2014) ...................................................................................................... 16
Skipkovitz Boley v. Wash. Post Co.,
  571 F. Supp. 2d 178 (D.D.C. 2008) .......................................................................................... 17
Snyder v. Phelps,
  562 U.S. 443 (2011) .................................................................................................................. 35
St. Amant v. Thompson,
   390 U.S. 721 (1968) ................................................................................................ 37, 42, 48, 52
Tah v. Global Witness Publ’g, Inc.,
  991 F.3d 231 (D.C. Cir. 2021) ................................................................................ 37, 41, 42, 48
Tavoulareas v. Piro,
  817 F.2d 762 (D.C. Cir. 1987) ................................................................................ 39, 41, 49, 50
Truedeau v. Fed. Trade Comm’n,
  456 F.3d 178 (D.C. Cir. 2006) .................................................................................................. 16
U.S. Dominion, Inc., et al. v. Powell, et al.,
  Nos. 1:21-cv-00040, 1:21-cv-00213, 1:21-cv-00445,
  2021 WL 3550974 (D.D.C. Aug. 11, 2021) ....................................................................... 48, 50
Vance v. Chao,
  496 F. Supp. 2d 182 (D.D.C. 2007) ............................................................................................ 1
Von Kahl v. Bureau of Nat. Affairs, Inc.,
  810 F. Supp. 2d 138 (D.D.C. 2011) .......................................................................................... 17
Washington v. Smith,
 893 F. Supp. 60 (D.D.C. 1955) ................................................................................................. 35
Weyrich v. New Republic, Inc.,
 235 F.3d 617 (D.C. Cir. 2001) .................................................................................................. 20
White v. Fraternal Order of Police,
 909 F.2d 512 (D.C. Cir. 1990) .................................................................................................. 17
Wood v. American Federation of Government Employees,
 316 F. Supp. 3d 475 (D.D.C. 2018) .......................................................................................... 30

                                                                   vii
           Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 9 of 62




Xeras v. Heiss,
  933 F. Supp. 2d 1 (D.D.C. 2013) .............................................................................................. 30
Young v. CBS Broadcasting, Inc.,
  2012 WL 6722061 (Cal. App. 3d Dist. 2012)........................................................................... 38
                                                                  Statutes
47 U.S.C. § 230 ....................................................................................................................... 25, 26
                                                           Other Authorities
Restatement (2d) Torts § 578 ........................................................................................................ 23
Restatement (2d) Torts § 611 ........................................................................................................ 18
                                                                   Rules
Fed. R. Civ. P. 12 .......................................................................................................................... 15
Fed. R. Evid. 201 ............................................................................................................................ 1




                                                                     viii
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 10 of 62



                                     I.   INTRODUCTION

       For at least the past 20 years, election observers have raised concerns about the potential

that the outcome of elections in the United States might be affected by inaccurate or unreliable

election technology, or parties looking to exploit weak security or manipulate ballot counting.1

Beginning with the contested election of President Bush in 2000 and continuing thereafter,

skeptical supporters of the losing presidential ticket have worried that inadequate election

security and technology cost them the election. For example,

              In July 2001, scientists from Massachusetts Institute of Technology and
               California Institute of Technology released an academic study that found millions
               of votes were “not counted” in the 2000 presidential election, citing “faulty voting
               equipment” and other problems. (Ex. A1.)

              In January 2005, members of Congress objected to the certification of Ohio’s
               electoral college votes based on a House Judiciary Committee Report that found
               “numerous, serious election irregularities” in Ohio that led to “a significant
               disenfranchisement of voters.” (Ex. A2.)

              In October 2008, then presidential candidate John McCain warned viewers during
               a debate with the Democratic nominee Barack Obama that the November 2008
               election could be marred by voter fraud, adding that Obama and ACORN—a
               voter outreach and low-income advocacy group—were trying to “steal” the
               election and were “on the verge of maybe perpetrating one of the greatest frauds
               in voter history in this country, maybe destroying the fabric of democracy.” (Ex.
               A3.)




1
  At the pleading stage, a court may consider extrinsic documents attached as exhibits or
incorporated by reference in the Complaint, and matters about which the court may take judicial
notice. See EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 625 (D.C. Cir. 1997).
Judicial notice is proper for all public documents, including court records or SEC filings. See
Vance v. Chao, 496 F. Supp. 2d 182, 184 n.1 (D.D.C. 2007) (court records); DiLorenzo v.
Norton, No. 07-144, 2009 WL 2381237, at *2 n.7 (D.D.C. Jul. 31, 2009) (SEC filings). A court
may also properly take judicial notice of “a fact that is not subject to reasonable dispute” and
“can be accurately and readily determined from sources whose accuracy cannot reasonably be
questioned.” Hurd v. District of Columbia, 864 F.3d 671, 686 (D.C. Cir. 2017) (quoting
Fed. R. Evid. 201(b)). The articles and other documents attached to or cited herein are all the
proper subject of judicial notice, which Byrne hereby requests.

                                                 1
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 11 of 62




              In May 2019, defeated presidential candidate Hillary Clinton told audiences and
               others that “you can have the election stolen from you,” implying the same thing
               befell her in her 2016 bid for the White House. (Ex. A4.)

       The country’s latest 2020 presidential election followed this pattern. In the weeks leading

up to the election, former President Trump said that if he lost his bid for the White House, it

would be because the election was rigged or due to widespread voter fraud. (Ex. A5.) News

outlets did not call the presidential election for candidate Joe Biden until a few days after

election day, as there were close contests in multiple states, and mail-in and early votes—the

volume of which were unprecedented given pandemic-related changes in many state and local

election laws—shifted vote tallies in Biden’s favor starting the morning after election day and

continuing for several days thereafter.

       President Trump asserted that voter fraud and irregularities called into doubt the reported

election results. As support, Trump cited alleged abuses in mail-in voting and insecure processes

to verify voter identity. He also referenced the use of electronic voting machines, alleging that

their technology was at fault and presented opportunities for fraud. With respect to these voting

machines—long the subject of bipartisan criticism and election integrity concerns going back

many election cycles—Trump claimed that electronic voting machines were vulnerable to

manipulation or hacking to change votes. The Trump campaign and others then filed lawsuits

across the country making similar claims, relying on purported experts and witnesses willing to

sign sworn affidavits directly addressing these issues. This legal effort was led by well-known

attorneys and former federal prosecutors. And all of these allegations and issues, many of which

were hotly disputed, were eagerly reported by various journalists around the globe and argued

about at watercoolers, the dinner table, and on Facebook or other social media websites.




                                                  2
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 12 of 62




       Dominion’s complaint attempts to create a narrative of Byrne being a serial defamer, who

lied for financial gain and worked in a concerted effort to take down this little-known but giant

billion dollar voting machine company to “get what he wants.” (Compl. ¶ 40.) But these claims

are baseless and the record shows that questions regarding electronic voting machine systems

generally and Dominion’s in particular did not originate with Byrne, but actually predate all the

lawsuits and November 2020 post-election claims.

       For years, some critics have never been convinced that electronic voting machine

technology is reliable and can yield the accuracy and security standards our elections demand.

For instance, Michael Kinsley proclaimed in the New York Times that the 2000 election was

“actually stolen.” (Ex. A6.) In an article published in an issue of Rolling Stone, Robert F.

Kennedy Jr. concluded, while discussing the 2004 election, that the voting machines and

software altered “upwards of 80,000 votes for Kerry” that were wrongly attributed to Bush. (Ex.

A7.) Well-credentialed scientists and other observers have also conducted tests and provided

literature on the vulnerabilities of voting machines. (Ex. A11.) Indeed, specific alarms have been

raised about Dominion’s machines, and these warnings have been credited by a federal judge and

state governments, the latter of which have expressly decided not to use them. (Ex. C3.)

       It is in this context of strong words by a sitting president and distressing skepticism

surrounding the integrity and legitimacy of the country’s latest election, with decades of well-

publicized concerns about the risks and potential vulnerabilities of electronic voting machines in

tow, that Patrick Byrne—who is not a Trump partisan and in fact did not vote for President

Trump in the 2020 election (see Compl. ¶ 153a)—began to investigate, ask questions, and

comment on what he learned and what the public controversy was all about via his online blog or

in various media appearances.



                                                 3
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 13 of 62




       Byrne is no stranger to championing popular, unpopular, or to some, unlikely narratives.

He has previously engaged in a years-long effort to expose “naked short selling” in the market by

prime brokerages—a practice that involves short-selling shares that have not been affirmatively

determined to exist, which manipulates markets by putting artificial downward pressure on the

price of a stock. He eventually prevailed in this effort, reaching a multi-million dollar resolution

of a claim brought against the most powerful firms on Wall Street. He has also been a long-time

advocate of blockchain technology and cryptocurrencies, positioning the online retail giant he

founded, Overstock.com, to become a player in the booming cryptocurrency space by making

investments many skeptics viewed at the time as foolhardy.

       Having left Overstock in 2019 and given the swell of press on the serious charges being

made, Byrne took an interest in the security of the 2020 election. (Compl. ¶ 1.) In a six-part blog

series, he explained how he viewed his role:

       My ultimate purpose (my only real purpose) is to deliver to the public as honest a
       rendering as I may construct of the events between November 3 and January 20. It
       seems like a historically worthy thing to do. . . . I may have done other things in
       life, but in addition I’m a journalist, and I have the rights any journalist has.

(See generally Compl. at n.13, 99, 104, and 168; see Compl. ¶ 153r.) Thus Byrne, a philosopher

with post-graduate and doctoral degrees from prestigious universities, a successful CEO, public

intellectual, and student of American history, researched to find out as much as he could about

President Trump’s claims and the mechanics of the 2020 election, and Byrne then reported what

he found as an investigative and citizen journalist, occasionally offering his own commentary

and opinions about the same. There can be no doubt that this is core First Amendment protected

activity and that Dominion’s complaint must therefore fail.

       First, Dominion’s complaint must fail because the First Amendment enshrines “the

profound national commitment to the principle that debate on public issues should be


                                                  4
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 14 of 62




uninhibited, robust, and wide open[.]” New York Times Co. v. Sullivan, 376 U.S. 254, 271

(1964). Nowhere is this constitutional promise more important than in reporting on security

concerns about presidential elections or official public proceedings including judicial ones, as

Byrne did here. That is, Byrne presented the factual allegations against Dominion and basis for

the in-court claims being made by President Trump, his campaign, and his legal team. Byrne also

presented the official actions of state actors like those in the State of Texas against Dominion

with proper attribution to the same. Byrne’s reporting on this was fair and accurate. Thus his

statements are privileged and immune from liability, even if, taking Dominion’s allegations as

true, an underlying official document contained statements that were untrue or defamatory.

       Second, Dominion’s complaint must fail because many of Byrne’s statements are not

actionable. Some are not about Dominion. Some are not “publications.” Some are not actionable

defamation as preempted by federal law. Some reflect Byrne’s mere subjective beliefs. And

others still reflect conclusions or interpretations based on fully-disclosed facts, or simply

hyperbolic rhetoric, figurative language, suspicions, or expressions of outrage, all of which

receive full constitutional protection. Milkovich v. Lorain Journal Co., 497 U.S. 1, 20-21 (1990).

       Third, Dominion’s complaint must fail because Dominion has not pled sufficient facts to

clearly and convincingly establish that Byrne made the challenged statements with actual

malice—that is, with knowledge or reckless disregard of their falsity and that Byrne in fact

entertained serious doubts about the truth. It does not matter that Dominion disagrees with

Byrne’s reporting and his theories, interpretations, opinions, or conclusions he reached at various

times. It also does not matter that many people might disagree with him—though millions of

people do not. As Byrne himself is aware given his decades in the public eye and having at times

been subjected to significant press coverage, people are allowed to hold negative opinions about



                                                  5
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 15 of 62




public figures, draw negative inferences about them, or make exaggerated or even inaccurate

statements about them. “[W]here the criticism is of public officials and their conduct of public

business, the interest in private reputation is overborne by the larger public interest, secured by

the Constitution, in the dissemination of truth.” Garrison v. Louisiana, 379 U.S. 64, 72-73

(1964). In other words, “sometimes false is the burden that our system of laws quite consciously

places on the shoulders of public figures.” OAO Alfa Bank v. Center for Public Integrity, 387

F. Supp. 2d 20, 56 (D.D.C. 2005).

        To survive a motion to dismiss, Dominion must plead clearly and convincingly that

Byrne expressed or implied provably false facts about Dominion with actual malice. This

standard is not met here. Thus, to the extent Dominion wishes “to set the record straight”

(Compl. ¶ 12), Dominion “must be content . . . to contradict and counteract the allegedly false

accusations” outside of court. Fairfax v. CBS Corporation, 2 F.4th 286, 295-96 (4th Cir. 2021)

(reasoning that public figures are less worthy of protection by defamation because they have

greater access to means of communication to respond to alleged defamation to ‘set the record

straight’).

        Because the threat of protracted litigation in this case could have a chill on the

constitutionally protected right of free speech, early resolution of this action by motion to

dismiss is proper. See, e.g., Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 138 F. Supp. 3d

1191, 1199 (D. Colo. 2015) (“prompt resolution of defamation actions, either by motion to

dismiss or summary judgment, is appropriate”), aff’d, 861 F.3d 1081 (10th Cir. 2017).

        For these and other reasons discussed below, the Complaint should be dismissed with

prejudice.




                                                  6
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 16 of 62



                                     II. BACKGROUND

       A.      The Parties

       US Dominion, Inc., Dominion Voting Systems, Inc. and Dominion Voting Systems

Corporation (collectively, “Dominion”) are related corporate entities that develop technology

and supply voting machines and software in the United States. (Compl. ¶¶ 13-15, 25-27.)

US Dominion, Inc. is a Delaware corporation based in Denver, Colorado. (Compl. ¶¶ 14 and 28.)

Its origins lie in 2002 with the founding of Dominion Voting Systems Corporation, a Canadian

company and now subsidiary of US Dominion, Inc. (Compl. ¶ 29.) Dominion contracts with

state and local governments to supply voting systems and services in elections across the

country. (Compl. ¶ 30.) At the time of the 2020 presidential election, Dominion had contracts to

supply those services in over half of the states, serving about 40% of the American voting public

spread across 28 states and Puerto Rico. (Compl. ¶¶ 30 and 68 n.63; see also Ex. A8.)

       In 2010, Dominion acquired Sequoia Voting Systems, a leading American maker of

electronic voting machine systems. (Compl. ¶ 112.) Sequoia was previously owned by

Smartmatic Corporation, another voting machine company. Smartmatic was founded in

Venezuela by entrepreneurs with purported links to the Venezuelan government and President

Hugo Chavez. (Ex. A9.) Smartmatic was the subject of controversy in 2004 when the Hugo

Chavez-led government selected Smartmatic to provide the voting machine systems and

tabulation support for the presidential recall election—an election that was reportedly tampered

with by an algorithm that adjusted the vote in Chavez’s favor. (Exs. A9 and C1.)

       During Smartmatic’s ownership of Sequoia, Sequoia voting machines were connected to

irregularities in the March 2006 Chicago primary elections that predated the midterm elections

that same year. (Ex. A9.) The U.S. government launched a foreign investment risk review of

Smartmatic. Smartmatic resultantly sold Sequoia because the foreign ties to the Venezuelan

                                                7
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 17 of 62




government posed national security concerns about election integrity. (Ex. C1.) Dominion

inherited Sequoia’s assets as their purchaser. (Compl. ¶ 112.)

       Patrick Byrne is the founder and former CEO and director of Overstock.com. He is a

Dartmouth-educated Marshall Scholar. He holds a PhD in Philosophy from Stanford University,

and he is outspoken with respect to many topics. (Compl. ¶¶ 33-38.) A citizen journalist, Byrne

started an acclaimed website called DeepCapture.com where he laid out his views and theories

that frequently took aim at the so-called “deep state” or permanent Washington bureaucracy. A

cutting edge thinker, Byrne has also long recognized the transformational potential that

blockchain technology might offer for capital markets, political life, voting,, land titling, or even

world poverty. (Compl. ¶¶ 35-38.) His public advocacy and support for blockchain technology is

well documented and spans years. Indeed, his evangelism for blockchain would eventually

manifest as CEO of Overstock where he would diversify the company by expanding its core

online retail business with initiatives that worked on developing blockchain technologies, which

Overstock pursues through its wholly-owned subsidiary Medici Ventures, Inc. (Compl. ¶ 38.)

       Referencing this expansion at Overstock, Dominion attempts to claim that Byrne still has

a financial interest in blockchain voting technology. (Compl. ¶ 39.) However, Byrne’s

resignation from Overstock on August 22, 2019 (Compl. ¶¶ 9 and 34) coincided with his

decision to sell the remainder of his Overstock holdings executed in September 2019.2



2
  The law and SEC regulations require officers of public companies to disclose stock sales two
business days after they happen via a Form 4. See 17 C.F.R. § 240.16a-3(g)(1). Byrne filed a
copy of his Form 4 with the SEC, which is publicly available from the SEC on its EDGAR
website, and it discloses Byrne’s sale of the remainder of his entire holdings in Overstock as
recently found by Judge Kimball of the U.S. District Court for the District of Utah, of which this
Court may take judicial notice. See In re Overstock Sec. Lit., No. 2:19-cv-00709-DAK, 2021 WL
2043052, at *4 (D. Utah Feb. 25, 2021) (“Between September 16 and 18, 2019, Byrne sold his
entire remaining common stock in Overstock[.]”).

                                                  8
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 18 of 62



       B.       Historical Security Concerns about Electronic Voting Machines and
                Dominion Machines in Particular

       The most recent presidential election occurred on November 3, 2020. The bitter battle for

the White House between then President Donald Trump and former Vice President Joe Biden

produced no clear winner by election night, with the race being too close to call and millions of

votes still uncounted. By November 7, many news organizations called the 2020 election for Joe

Biden, although public concern and questions about that outcome, in the face of mounting legal

challenges in several states with allegations of voter fraud and voting machine problems, was

hardly over.

       This is not the first time that public controversy surrounding an election, or political ire

aimed at voting machines, have permeated the public discourse. For example,

               After the 2004 election, the electronic voting machine maker Diebold was
                accused of manipulating the results in favor of President George W. Bush. (Ex.
                A10.)

               In 2006, Congresswoman Carolyn Maloney raised voter tampering and national
                security concerns about Smartmatic’s purchase of Sequoia given that “Smartmatic
                has been associated by the press with the Venezuelan government led by Hugo
                Chavez, which is openly hostile to the United States.” (Ex. C2.) These concerns
                triggered a formal inquiry of Smartmatic and its U.S.-based subsidiary Sequoia on
                the eve of the 2006 midterm elections by the Committee on Foreign Investment in
                the United States (CFIUS). (Ex. C1.) This spotlight on Sequoia’s purchase caused
                Smartmatic to divest ownership of Sequoia, which led the way for its assets to be
                acquired by Dominion. (Ex. A9; Compl. ¶ 112.)

               In 2016, U.S. intelligence agencies revealed that Russian hackers attempted to
                access various state election systems. With Russia having meddled in the 2016
                election, Politico Magazine published an article on the work of Princeton
                Professor Andrew Appel, who exposed—despite prior threats of legal action
                against him—“unacceptable problems” by hacking into a voting machine himself.
                He reportedly purchased a Sequoia voting machine and was able to throw off the
                tally of votes in mere minutes and without a trace. (Ex. A11.)

       In fact, concerns about Dominion specifically and the vulnerability of its machines also

predate the November 2020 election. On January 9, 2020, Dominion founder and chief executive


                                                 9
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 19 of 62




John Poulos, together with CEOs from Election System & Software (ES&S) and Hart

InterCivic—the three of which make more than 80% of the country’s voting machines—testified

before Congress to answer questions from lawmakers about the security of their machines,

cybersecurity practices, susceptibility to hacking given their design or ability to connect to the

internet, and ways the infrastructure of voting machines can be modernized given the 15-year-old

federal security standards that the voting-machine-maker-industry follows. (Ex. A12.)

       Later that month, on January 24, 2020, following a two-day examination by six experts in

October 2019, the Texas Secretary of State refused to certify Dominion’s system for the third

time, questioning whether it “is safe from fraudulent or unauthorized manipulation.” (Ex. C3.)3

       In 2019, Georgia voters and the Coalition for Good Governance filed a federal lawsuit,

alleging that Dominion’s system was not secure. District Judge Amy Totenberg heard argument

on the claims, reviewed the evidence, and in October 2020 issued an opinion that credited the

testimony of an “array of experts and subject matter specialists [who] provided a huge volume of

significant evidence regarding the security risks and deficits in the [Dominion] system.” Curling

v. Raffensperger, 493 F. Supp. 3d 1264, 1278 (N.D. Ga. 2020). Judge Totenberg warned that

Dominion’s technology “presents serious system security vulnerability and operational issues”

caused by “fundamental deficits and exposure”—risks the court found “neither hypothetical nor

remote.” Id. at 1340-41. The court concluded that “national cybersecurity experts convincingly

present evidence that this is not a question of ‘might this actually ever happen?’—but ‘when it

will happen.’” Id. at 1342.


3
 According to the Texas Secretary of State website, Dominion’s requests for certification of its
system for use in Texas have been denied three times, including on March 12, 2013, on June 20,
2019, and most recently again on January 24, 2020. See SOS.Texas.gov, Voting System
Examination(s) and Status for Dominion, available at
https://www.sos.texas.gov/elections/laws/dominion.shtml (last visited Nov. 17, 2021).

                                                 10
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 20 of 62




        The Curling litigation and findings of Judge Totenberg about Dominion machines

received saturation coverage by the news media. USA Today warned that “[m]illions of voters

going to the polls Tuesday will cast their ballots on machines blasted as unreliable and inaccurate

for two decades by computer scientists from Princeton University to Lawrence Livermore

National Laboratory.” (Ex. A13.) The New York Times reported that Dominion’s system was a

“Rube Goldbergian assemblage of interrelated components” with expert witnesses seeing “the

multitude of components as more vulnerable to attack and to technical problems.” (Ex. A14.)

The Washington Post added that “election integrity activists say the new [Dominion] voting

machines are unaccountable and unverifiable and have many of the same security vulnerabilities

as the old ones.” (Ex. A15.) The Associated Press explained that voters using Dominion

machines “cannot be confident their votes are accurately counted.” (Ex. A16.) And the local

Atlanta metropolitan daily newspaper reported that Dominion’s system “is vulnerable to attacks

that could undermine public confidence, create chaos at the polls or even manipulate the results

on Election Day.” (Ex. A17.)

        C.        November 2020 Election Lawsuit Claims about Dominion

        By mid-November 2020, the Wall Street Journal noticed that Trump had repeatedly

“lashed out at Dominion, tweeting and retweeting comments about the company at least a dozen

times over the past week and calling its equipment ‘not good or secure.’” (Compl. ¶ 68 n.63; see

also Ex. A8.) Around the same time, the Trump campaign and allies filed more than 40 lawsuits

to challenge the election’s outcome. (Ex. A18.) In these cases, plaintiffs argued that Dominion

voting machines were defective, problematic, or had software that enabled others to manipulate

or alter votes.




                                                11
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 21 of 62




       On November 7, for instance, the Trump campaign filed a lawsuit in Arizona state court

in which the campaign alleged that Dominion machines in Maricopa County had wrongly

rejected thousands of ballots perceived to be “overvotes.” (Ex. B1.)

       On November 11, the Trump campaign filed another federal lawsuit in the Western

District of Michigan, alleging that the “Dominion Voting Systems election management system

and voting machines (tabulators), which were used in Antrim County [and] many other Michigan

counties, including Wayne County, were at fault.” (Ex. B2.)

       On November 13, Georgia voter and attorney Lin Wood filed a separate lawsuit in the

Northern District of Georgia naming himself as plaintiff. In this lawsuit, Wood claimed that

Georgia’s election procedures had been unconstitutionally irregular and so he sought to block

certification of the state’s election results. (Ex. B3.) For support, he filed an 8-page declaration

attached to an emergency motion for injunctive relief that said Dominion’s software is “a

descendant of the Smartmatic” system, which was allegedly used to perpetrate a rigged election

in Venezuela. (Ex. B4.) Under penalty of perjury, the declarant specifically said:

       21.     I want to point out that the software and fundamental design of the
               electronic electoral system and software of Dominion and other election
               tabulating companies relies upon software that is a descendant of the
               Smartmatic Electoral Management System. In short, the Smartmatic
               software is in the DNA of every vote tabulating company’s software and
               system.

       22.     Dominion is one of three major companies that tabulates votes in the
               United States. Dominion uses the same methods and fundamentally same
               software design for the storage, transfer and computation of voter
               identification data and voting data. Dominion and Smartmatic did business
               together. The software, hardware and system have the same fundamental
               flaws which allow multiple opportunities to corrupt the data and mask the
               process in a way that the average person cannot detect any fraud or
               manipulation. The fact that the voting machine displays a voting result that
               the voter intends and then prints out a paper ballot which reflects that
               change does not matter. It is the software that counts the digitized vote and
               reports the results. The software itself is the one that changes the
               information electronically to the result that the operator of the software
                                                  12
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 22 of 62




               and vote counting system intends to produce that counts. That’s how it is
               done. So the software, the software itself configures the vote and voting
               result -- changing the selection made by the voter. The software decides
               the result regardless of what the voter votes.

       23.     All of the computer controlled voting tabulation is done in a closed
               environment so that the voter and any observer cannot detect what is
               taking place unless there is a malfunction or other event which causes the
               observer to question the process. I saw first-hand that the manipulation
               and changing of votes can be done in real-time at the secret counting
               center which existed in Caracas, Venezuela. For me it was something very
               surprising and disturbing. I was in awe because I had never been present to
               actually see it occur and I saw it happen. So, I learned firsthand that it
               doesn’t matter what the voter decides or what the paper ballot says. It’s the
               software operator and the software that decides what counts – not the
               voter.

                                               ***

       26.     I am alarmed because of what is occurring in plain sight during this 2020
               election for President of the United States. The circumstances and events
               are eerily reminiscent of what happened with Smartmatic software
               electronically changing votes in the 2013 presidential election in
               Venezuela. What happened in the United States was that the vote counting
               was abruptly stopped in five states using Dominion software. At the time
               that vote counting was stopped, Donald Trump was significantly ahead in
               the votes. Then during the wee hours of the morning, when there was no
               voting occurring and the vote count reporting was off-line, something
               significantly changed. When the vote reporting resumed the very next
               morning there was a very pronounced change in voting in favor of the
               opposing candidate, Joe Biden.

(Ex. B4.)

       All of the foregoing events, statements, and attendant public controversy—always

simmering and at times boiling in the public discourse—occurred before Byrne uttered his first

allegedly false statement. Although Dominion makes assertions about Byrne “predicting a

‘stolen election’ as early as August 2020,” Dominion does not allege any public comment by him

until after the election. Per the Complaint, Byrne did not publish his first purported defamatory

statement until November 17, 2020. (Compl. ¶¶ 41, 153a.)



                                                13
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 23 of 62




       On November 25, attorney for the Trump campaign, former federal prosecutor, and

experienced litigator Sidney Powell then filed two similar election-related lawsuits in Michigan

and Georgia federal courts on behalf of registered voters who alleged “massive election fraud”

and “multiple violations” of state and federal law. (Exs. B5 and B6.) Citing sworn affidavits,

Powell’s complaint in Michigan charged:

              “The Dominion systems derive from the software designed by Smartmatic
               Corporation, which became Sequoia in the United States.” (Ex. B5 at ¶ 4.)

              “Smartmatic and Dominion were founded by foreign oligarchs and dictators . . . to
               make certain Venezuelan dictator Hugo Chavez never lost another election.” (Ex.
               B5 at ¶ 5.)

              “A core requirement of the Smartmatic software design ultimately adopted by
               Dominion . . . was the software’s ability to hide its manipulation of votes from
               any audit.” (Ex. B5 at ¶ 7.)

              Dominion’s system “is designed to facilitate vulnerability and allow a select few
               to determine which votes will be counted in any election.” (Ex. B5 at ¶ 146.)

              “The first red flag is the Antrim County, Michigan ‘glitch’ that switched 6,000
               Trump ballots to Biden” which only became “discoverable through a manual hand
               recount.” (Ex. B5 at ¶ 128.)

              An “analysis of the Dominion software system by a former US Military
               Intelligence expert concludes that the system and software have been accessible
               and were certainly compromised by rogue actors, such as Iran and China. By
               using servers and employees connected with rogue actors and hostile foreign
               influences combined with numerous easily discoverable leaked credentials,
               Dominion neglectfully allowed foreign adversaries to access data and
               intentionally provided access to their infrastructure in order to monitor and
               manipulate elections, including the most recent one in 2020.” (Ex. B5 at ¶ 150.)

       On December 1 and December 2, Powell filed two other election-result challenges in

Arizona and Wisconsin federal courts that made similar allegations (Exs. B7 and B8), though the

Arizona complaint added:

              Dominion machines “make determinations on what ballots to invalidate or
               validate based on an algorithm that operates offshore before tallying the votes
               locally.” (Ex. B7 at ¶ 49.)

                                                14
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 24 of 62




                Expert witness Russell James Ramsland Jr. “also identifies an impossibility: ‘an
                 improbable, and possibly impossible spike in processed votes,’ . . . like those also
                 found in Georgia, Michigan, and Wisconsin. Specifically at 8:06:40 PM on
                 November 3, 2020, there was a spike of 143,100 votes for Biden in Maricopa and
                 Pima Counties. . . . Mr. Ramsland believes that the spike in Arizona, like those in
                 the other three States he analyzed could have been manufactured by Dominion
                 voting machines[.]” (Ex. B7 at ¶ 60.)

        D.       Byrne’s Commentary and Dominion’s Subsequent Lawsuit

        Against this backdrop, from November 17, 2020 to June 26, 2021, Byrne reported,

publicly wrote about, and commented on these election-related lawsuits and their supporting

sworn affidavits—together with every other major news organizations or civic-minded

American—occasionally offering his thoughts, beliefs, opinions, theories, or inferences on the

same.4 Nearly a year later, Dominion sued Byrne asserting defamation per se. (See generally

Compl.) Dominion alleges that Byrne’s statements constitute defamation per se “as they impute

serious criminal conduct to Dominion and also malign Dominion in the conduct of its business or

trade.” (Compl. ¶ 161.)

                                      III. LEGAL STANDARD

        “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that it is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007)). Plaintiffs must plead more than the mere possibility of relief. “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements,” cannot



4
  See, e.g., Compl. ¶¶ 104 and 153e, where Dominion attempts to allege that Byrne defamed
Dominion by discussing, relying on, and publishing in full via hyperlink the date-stamped sworn
affidavit of Joshua Merritt, aka the Spyder Declaration, signed under penalty of perjury on
November 23, 2020, which Powell used and filed in support of her Michigan federal court
lawsuit. A copy of this sworn affidavit is attached as Exhibit B9.

                                                    15
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 25 of 62




withstand scrutiny. Iqbal, 556 U.S. at 678. The Court “assumes the truth of all well-pleaded

factual allegations in the complaint and construes reasonable inferences from those allegations in

the plaintiff’s favor[.]” Sissel v. U.S. Dep’t of Health & Human Servs., 760 F.3d 1, 4 (D.C. Cir.

2014). However, the Court need not accept as true “a legal conclusion couched as a factual

allegation[.]” Truedeau v. Fed. Trade Comm’n, 456 F.3d 178, 193 (D.C. Cir. 2006). Nor does it

need to accept an unreasonable conclusion or unwarranted inference that is “unsupported by the

facts set out in the complaint.” Id. at 193 (quoting Kowal v. MCI Commc’ns Corp., 16 F.3d 1271,

1276 (D.C. Cir. 1994). The Court may consider “documents attached to or incorporated in the

complaint, matters of which courts may take judicial notice, and documents appended to a

motion to dismiss whose authenticity is not disputed, if they are referred to in the complaint and

integral to a claim.” Harris v. Amalgamated Transit Union Local 689, 825 F. Supp. 2d 82, 85

(D.D.C. 2011).

                                           IV. ARGUMENT

        Dominion’s allegations—scattershot and prolix as they are—concern complaints about

statements that either: (1) reflect fair and accurate reporting of official government and judicial

proceedings; (2) contain Byrne’s protected commentary or opinions (e.g., protesting that “the

outcome was rigged and should be completely ignored or discounted”); (3) are not actionable

under applicable law (e.g., merely providing a hyperlink or retweeting another’s tweet on

Twitter); or (4) relate to minor details or do not even concern Dominion but rather other people

or entities (e.g., referring to “election officials” or “the elites”).

        To succeed on a defamation claim, a plaintiff must show four things:

        (1) that the defendant made a false and defamatory statement; (2) that the
        defendant published the statement without privilege to a third party; (3) that the
        defendant’s fault in publishing the statement amounted to at least negligence [or
        actual malice where plaintiff is a public official or figure]; and (4) either that the


                                                    16
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 26 of 62




        statement was actionable as a matter of law irrespective of special harm, or that its
        publication caused the plaintiff special harm.

Croixland Properties Ltd. Partnership v. Corcoran, 174 F.3d 213, 215 (D.C. Cir. 1999) (quoting

Crowley v. North Am. Telecomm. Ass’n, 691 A.2d 1169, 1172 n.2 (D.C. 1997). For the reasons

discussed below, Dominion has failed plead the requisite elements to state a claim.

        A.      Byrne’s Statements are Protected under the Fair Report Privilege

        Byrne’s challenged speech is absolutely protected as reporting and commenting on

allegations made in government proceedings. Known as the “fair report privilege,” this

protection completely shields “the publication of fair and accurate reports of official

proceedings” as an exception to the general rule “that one who repeats or republishes a

defamation uttered by another ‘adopts’ it as his own.” Dameron v. Washington Mag., Inc., 779

F.2d 736, 739 (D.C. Cir. 1985).

        The fair report privilege “extends to reports of judicial proceedings.” Von Kahl v. Bureau

of Nat. Affairs, Inc., 810 F. Supp. 2d 138, 144 (D.D.C. 2011). Indeed, the privilege has been held

to broadly include “reports of proceedings before any court,” White v. Fraternal Order of Police,

909 F.2d 512, 527 (D.C. Cir. 1990), which necessarily includes the content of court documents

like complaints or affidavits. Skipkovitz Boley v. Wash. Post Co., 571 F. Supp. 2d 178, 183

(D.D.C. 2008) (pleadings); Atlantic Monthly Group, 950 F. Supp. 2d 249, 258-59 (D.D.C. 2013)

(affidavits).

        Significantly, the reporting of both true and false factual matters is covered by the

privilege. “Misstatements of fact as well as opinion are protected under the privilege,” Harper v.

Walters, 822 F. Supp. 817, 826 (D.D.C. 1993), for the privilege is intended to encourage the

dissemination of official records, regardless of their truth, “whether verbatim or in fair

summaries—without fear of liability for any false, defamatory material that they might contain.”


                                                 17
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 27 of 62




Dameron, 779 F.2d at 739. “If the author’s work is a fair and accurate representation of an

official report, the work is privileged, regardless of the veracity of the official report and even if

the official documents contain erroneous information.” Montgomery v. Risen, 197 F. Supp. 3d

219, 266 n.41 (D.D.C. 2016) (internal quotes and citations omitted), aff’d, 875 F.3d 709

(D.C. Cir. 2017).

          Further, failure to investigate and verify claims made in official or judicial proceedings is

not a condition precedent the law requires. “Nothing in the law requires a news organization to

first establish the bona fides of the allegations underlying [an official proceeding] before it

reports[.]” Such a rule would run “head long into the fair report privilege and, if accepted, would

effectively put the media in a straightjacket when it comes to reporting on [official

proceedings].” Libre By Nexus v. Buzzfeed, No. 17-cv-1460, 2018 WL 6573281, at *2 (D.D.C.

Dec. 13, 2018) (citing BuzzFeed, Inc. v. U.S. Dep’t of Justice, 318 F. Supp. 3d 347, 351 (D.D.C.

2018)).

          Finally, the “fair report privilege is not limited to members of the traditional media.”

Myers v. D.C. Hous. Auth., No. 1:20-cv-00700-APM, 2021 WL 1167032, at *5 (D.D.C. Mar. 26,

2021). As the Restatement (2d) of Torts and others have made clear, the fair report privilege:

          is commonly exercised by newspapers, broadcasting stations and others who are
          in the business of reporting news to the public. It is not, however, limited to these
          publishers. It extends to any person who makes an oral, written or printed report
          to pass on the information that is available to the general public.

Myers, 2021 WL 1167032, at *5 (quoting Restatement (2d) Torts § 611 comment c (emphasis

added)); Huon v. Breaking Media, LLC, 75 F. Supp. 3d 747, 762-63 (N.D. Ill. 2014), aff’d in

part, rev’d in part sub nom. Huon v. Denton, 841 F.3d 733 (7th Cir. 2016) (“Since the

availability of the privilege hinges not on the reporter’s status or source but on the accuracy and

fairness of the report, the privilege applies regardless of whether the reporter is part of the


                                                   18
        Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 28 of 62




established press and regardless of whether the reporter obtained the information directly from

the official proceeding.”); McNamara v. Koehler, 429 P.3d 6, 12 (Wash. Ct. App. 2018)

(bloggers may claim protection under the privilege).

        Byrne’s statements are protected by the fair report privilege. For example, in paragraph

153e, Dominion accuses Byrne of defaming Dominion by republishing in full an affidavit filed

in the King v. Whitmer litigation in the Eastern District of Michigan. (Compl. ¶ 153e.) Dominion

asserts the affidavit contained false and defamatory information. (Ex. B9.) Whether the affidavit

contained erroneous information, however, is of no consequence because Byrne’s republication

of the affidavit is immune from liability pursuant to the fair report privilege.

        For the privilege to attach, a defendant must “clear[ ] two major hurdles.” Phillips v.

Evening Star Newspaper Co., 424 A.2d 78, 89 (D.C. 1980), cert. denied, 451 U.S. 989 (1981).

His publication must be both fair and accurate and properly attributed to a qualified government

source. Jankovic v. Int’l Crisis Grp., 593 F.3d 22, 26 (D.C. Cir. 2010). Applied here, this is not a

close question. A sworn affidavit published verbatim is fair and accurate. Dameron, 779 F.2d at

739 (permitting dissemination of an official record “whether verbatim or in fair summaries”). On

the score of proper attribution to a qualified government source, a sworn affidavit filed in a

federal court is undeniably an official source. See Atlantic Monthly Group, 950 F. Supp. 2d 249,

258-59 (D.D.C. 2013) (including affidavits); Johnson v. Johnson Publ’g Co., 271 A.2d 696

(D.C. 1970) (holding that the fair report privilege applies to complaints and pleadings); Harper,

822 F. Supp. at 824 (recognizing the same). When examining that affidavit (Ex. B9), it is further

readily apparent on its face that specific attribution has been made, including by reference to a

federal court case number and ECF document number that correspond to the King v. Whitmer

litigation.



                                                 19
         Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 29 of 62



         B.     Byrne’s Statements are not False, are not Actionable, or are not Defamatory

         For a defamation claim to succeed, it is well established that an actionable statement must

be both “false as well as defamatory.” Rosen v. American Israel Public Affairs Comm., Inc., 41

A.3d 1250, 1256 (D.C. 2012). “In other words, the statements at issue must be both ‘verifiable’

as false ‘and reasonably capable of defamatory meaning.’” Bauman v. Butowsky, 377 F. Supp. 3d

1, 10 (D.C. Cir. 2019) (quoting Weyrich v. New Republic, Inc., 235 F.3d 617, 620 (D.C. Cir.

2001).

         According to the Complaint, in a series of blog posts, interviews, social media activity, or

other media between November 2020 and June 2021, Byrne: (1) claimed that election

irregularities in Dallas 2018 were rooted in Dallas’s use of Dominion voting machines, that

investigators conducted an audit, and that the State of Texas outlawed Dominion machines as a

result of that audit; (2) protested that the election was “hacked” or “rigged” and should be thrown

out by the courts; (3) criticized the so-called “elites” or other unnamed “officials” for their

involvement in stealing the election; (4) published or retweeted the research of others, expressing

his like, agreement, or approval—quintessential statements of opinion—in the same; (5)

conveyed his nondefamatory suspicions about the vote results in certain states and manner by

which Joe Biden won; (6) provided his subjective beliefs and opined on and drew negative

inferences based on factual allegations and supporting affidavits that were asserted in the various

election-related lawsuits; and (7) made hyperbolic, rhetorical, or figurative comments about

Dominion. (Compl. ¶ 153.) As discussed below, none of the foregoing types of statements

support an actionable defamation claim.




                                                  20
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 30 of 62



               1.      Some of the Challenged Statements are not Actionable because they
                       are not “Of and Concerning” Dominion

       First, the constitutional right to free speech requires a plaintiff to plead that the alleged

defamatory statement is “of and concerning” the plaintiff. New York Times, 376 U.S. at 288-89.

This requirement is amplified where, as here, the plaintiff is a public figure.5 To satisfy the “of

and concerning” requirement, the plaintiff must effectively plead that the statements at issue

either expressly mention the plaintiff or “lead the listener to conclude that the speaker is referring

to the plaintiff by description, even if the plaintiff is never named or is misnamed.” Croixland,

174 F.3d at 213. “Full constitutional protection exists for rhetoric that, due to its loose, figurative

tone cannot reasonably be interpreted as stating actual facts about an individual, and for

imprecise statements that are not susceptible of being proved true or false.” Lane v. Random

House, Inc., 985 F. Supp. 141, 150 (D.D.C. 1995) (citing Milkovich, 497 U.S. at 20-21)).

       Dominion alleges that each of the alleged false and defamatory statements uttered by

Byrne were about Dominion. (Compl. ¶ 153.) They are mistaken. On closer examination, many

of the statements alleged by Dominion to be defamatory, or at least portions of them, are not

about Dominion, but rather the so-called “elites,” unnamed “officials,” or others.

       Throughout the Complaint, Dominion frequently omits key elements of Byrne’s alleged

defamatory statements, in some cases suggesting “Byrne made, endorsed, and adopted” the false

statements of others where no such endorsements were made. In other cases, Dominion creates a

misimpression of what happened or what was being said. For example, in paragraph 153c,

Dominion’s pleading suggests that Byrne’s alleged statements were part of a live, question-and-


5
  In Rosenblatt v. Baer, for instance, the Supreme Court reversed a jury award against a
defendant newspaper out of concern that it criticized generally the management of a county
recreation facility without mentioning the plaintiff official. Rosenblatt v. Baer, 383 U.S. 75, 82-
83 (1966).

                                                  21
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 31 of 62




answer broadcast on OAN. (Compl. ¶ 153c.) However, an examination of the underlying video,

from which the purported pleading and exhibit transcript come, shows that Byrne’s appearance

on television was not part of a breaking news, live interview between Channel Rion and Byrne.

The video was a self-contained taped news report—otherwise known as a news package—that

played pre-recorded snippets of Byrne.

       In these snippets, Byrne never mentioned Dominion, but rather expressed his opinions

and suspicions about the election results. Bauman, 377 F. Supp. at 11 (holding “suspicions” are

not capable of being provably false). Specifically, Byrne expressed his skepticism about what he

perceived to be statistical anomalies and mathematical oddities in the election results that he

thought should invite larger scrutiny in the outcome of the election. (Compl. ¶ 153c.)

       In paragraph 153f, Dominion alleges that Byrne falsely accused Dominion of rigging the

2020 presidential election in a handful of cities, among other things. But Byrne was not talking

about Dominion in this instance. What Dominion omits is that Byrne had expressly accused the

so-called “elites” or “elite class” of wrongdoing, not Dominion. (Compl. ¶ 153f.)

       The same is true with respect to paragraph 153k. Here, Byrne is not accusing Dominion

of election fraud, but again is referring to “the elites”—specifically, “left elites”—and other

unnamed “election officials.” Byrne said:

       [W]hat’s going on is the elites are once again using the black community as their
       shield. . . . It’s not voter fraud, it’s election fraud. The election officials and a
       machinery is what cheated. . . . And what I hope is . . . the black community
       wakes up to how they’ve been used by left elites.

(Compl. ¶ 153k.)

       The Constitution “provides protection for statements that cannot reasonably be

interpreted as stating actual facts about an individual.” Farah v. Esquire Mag., 736 F.3d 528, 534




                                                 22
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 32 of 62




(D.C. Cir. 2013) (internal quotes omitted). Because the foregoing alleged defamatory statements

do not state actual facts about Dominion, they are not actionable.

               2.      Some of the Challenged Statements are not Actionable because they
                       are not Publications or are Preempted by Federal Law

       Second, a plaintiff alleging defamation must plead that the defendant published a

statement without a privilege or other immunity. See Croixland, 174 F.3d at 215. Some of the

challenged statements fail for want of the element of an actionable publication.

       In paragraph 153e, Dominion alleges it was defamed because Byrne “republished” on his

blog, DeepCapture.com, the sworn affidavit of Joshua Merritt that had been filed in Michigan

federal court. Dominion alleges that Merritt wrongly described himself as a military intelligence

analyst, who falsely accused Dominion of “using servers and employees connected with rogue

actors and hostile foreign influences . . . to monitor and manipulate elections, including the most

recent one in 2020.” (Compl. ¶ 153e.) Dominion correspondingly attempts to tether Byrne’s

liability to the underlying sworn statements of Merritt.

       While it is generally true that one who republishes defamatory matter is subject to

liability as if he or she had originally published it, see Foretich v. Glamour, 741 F. Supp. 247,

253 (D.D.C. 1990); and Restatement (2d) Torts § 578 (1977), Byrne, as discussed above, submits

this purported republication is privileged under the fair report privilege. Even if not privileged,

this purported republication is no publication at all. Byrne merely provided a hyperlink on his

blog to download the affidavit, and made a nondefamatory statement of opinion (i.e., “this fine . .

. affidavit”) and a fleeting reference about the affidavit’s content. Specifically, Byrne wrote:




(Compl. ¶ 153e.)


                                                 23
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 33 of 62




        Courts have routinely held that merely providing a hyperlink to a publication is not in

itself a republication from which defamation liability might attach. See, e.g., In re Phila.

Newspapers, L.L.C., 690 F.3d 161, 174 (3d Cir. 2012) (summarizing the court’s holding that

hyperlinks to formerly published material is not republication); Churchill v. State, 876 A.2d 311,

315 (N.J. Super. Ct. App. Div. 2005) (reaffirming that “technical amendments to the website,

which altered the means by which website visitors accessed the report, did not constitute

republication”); Haefner v. N.Y. Media, L.L.C., 918 N.Y.S. 2d 103, 104 (App. Div. 2011) (stating

that access to a web article via website links does not constitute republication).

        Transitory references to the content of a hyperlink also do not convert a hyperlink into a

publication. See, e.g., Lokhova v. Halper, 441 F. Supp. 3d 238, 256 (E.D. Va. 2020) (finding that

a hyperlink accompanied by a “passing reference to a general conclusion in the original article”

did not constitute republication); Doctor’s Data Inc. v. Barrett, 170 F. Supp. 3d 1087, 1137

(N.D. Ill. 2016) (finding that a hyperlink was not a republication because “it does not duplicate

the content of a prior publication”). Because the creation of a hyperlink to alleged defamatory

words is not, in itself, a publication, this claim must fail.

        In paragraph 153m, Dominion alleges Byrne retweeted and vouched for a false and

defamatory story indicating a “Georgia Tabulating Machine Sent Results to China,” which was

purportedly published and originally tweeted by The Thinking Conservative

(@TnkConservative). Dominion contends the retweeted article amounts to an actionable

publication by Byrne. A copy of the alleged defamatory retweet is below:




                                                   24
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 34 of 62




(Compl. ¶ 153m.) The claim falls short, however, because Byrne enjoys broad immunity against

state-law claims under the federal Communications Decency Act (CDA), 47 U.S.C. § 230.

       The CDA commands that “[n]o provider or user of an interactive computer service shall

be treated as the publisher or speaker of any information provided by another information

content provider,” id. at § 230(c)(1) (emphasis added), and the CDA expressly preempts any

state law to the contrary, id. at § 230(e)(3). Courts have explicitly held that CDA immunity

preempts state-law defamation actions. See, e.g., Johnson v. Arden, 614 F.3d 785, 792 (8th Cir.

2010); Obado v. Magedson, No. 13-2382(JAP), 2014 WL 3778261 (D.N.J. Jul. 31, 2014). Thus,

the provisions of the CDA bar defamation plaintiffs from holding either interactive computer

service providers or users legally responsible for information that third parties may create or

develop.

       It is undisputed that Twitter is an interactive computer service provider. See, e.g.,

American Freedom Defense Initiative v. Lynch, 217 F. Supp. 3d 100, 104 (D.D.C. 2016). It is
                                                25
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 35 of 62




undisputed that Byrne qualifies as a user of Twitter. Under the broad mantle of immunity of the

CDA, which offers “user” protection, Byrne is immune from liability for this retweet.

       As Dominion admits in its pleadings, Byrne did not originate the alleged defamatory

content of The Thinking Conservative (@TnkConservative). He retweeted it. Since retweeters

simply share another’s content, retweeters are not the original publisher or speaker. Per the CDA,

Dominion’s remedy is against, and Dominion’s sole possible defendant for this statement is, the

original publisher. See, e.g., La Liberte v. Reid, 966 F.3d 79, 83 (2d Cir. 2020) (recognizing the

force of the CDA but concluding that the cable TV personality Joy Reid didn’t have immunity

under the CDA because she originated the alleged defamatory content versus merely repeat what

had been previously published by another content provider).

       The preface “I vouch for this” by Byrne does not change the binding nature and

preemptive force of the CDA. The CDA is meant to shield interactive computer service

providers and users from liability for otherwise actionable speech from other information content

providers. Parisi v. Sinclar, 774 F. Supp. 2d 310, 315 (D.D.C. 2011) (discussing Congress’s

“legislative judgment to effectively immunize providers [and users] . . . from civil liability in tort

with respect to material . . . created by others.”). Congress intended to eliminate any possible

chilling effect that could be caused by the application of some state-law hook for defamation, or

threat of a tort-based lawsuit against interactive service providers or users for injuries caused by

the communications of others. Id. The CDA’s terms provide no exception for “liking,”

“approving,” or “vouching” for another’s content, rather the CDA plainly disallows “treat[ing]” a

user as “the publisher or speaker of any information provided by another[.]” 47 U.S.C.§

230(c)(1). Dominion’s claim here quite simply attempts to hold Byrne accountable for the

publication of an allegedly defamatory post by a third party. CDA immunity applies.



                                                 26
         Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 36 of 62



                 3.      Some of the Challenged Statements are not False

          Third, the Complaint dwells on Byrne’s statements about how Dominion voting machines

“ran the Dallas 2018 election,” which led to an investigation and the State of Texas

“outlaw[ing]” Dominion machines “as a result of that audit.” (See, e.g., Compl. ¶¶ 153a, 153b,

153c, 153d, 153f, and 153h.) Dominion insists their machines weren’t involved in the Dallas

2018 election. Even accepting that as true, Dominion’s claims with respect to these particular

statements still fail because Byrne’s statements are substantially true.

          As the Supreme Court has confirmed, the defense of substantial truth will absolve a

defendant even if he cannot “justify every word of the alleged defamatory matter; it is sufficient

if the substance of the charge be proved true, irrespective of slight inaccuracy in the details.”

Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 516-17 (1991). In other words, “literal

truth is not required.” Jolevare v. Alpha Kappa Alpha Sorority, Inc., 521 F. Supp. 2d 1, 13-14

(D.D.C. 2007). So long as the “the substance, the gist, [or] the sting of the libelous charge [is]

justified,” minor inaccuracies do not amount to actionable defamation. Masson, 501 U.S. at 517.

The burden is on a plaintiff to prove the statement’s falsity. Phila Newspapers, Inc. v. Hepps,

475 U.S. 767, 775 (1986).

          Here, the sting of Byrne’s public comment is that “Texas outlawed [Dominion’s system]

in Texas as a result of [an] audit.” That statement is true and undisputed by Dominion. Following

an examination, the Texas Secretary of State on January 24, 2020 refused to certify Dominion’s

system for use in the state, citing concerns about whether it “is safe from fraudulent or

unauthorized manipulation.” (Ex. C3.)6 Whether the precipitating event is the Dallas 2018




6
    See also note 3, supra.

                                                 27
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 37 of 62




election, or Dominion’s request for certification of its system, that ultimate conclusion is an

insignificant and minor detail.

               4.      Other Statements Consist of Byrne’s Commentary Based on Fully-
                       Disclosed Facts and are thus Protected Opinions

       Fourth, other challenged statements are not actionable because they are Byrne’s own

opinions based on fully-disclosed facts. “When the bases for . . . the conclusion are fully

disclosed, no reasonable reader would consider the term anything but the opinion of the author

drawn from the circumstances related.” Biospherics, Inc. v. Forbes, Inc., 151 F.3d 180, 185 (4th

Cir. 1998); Moldea v. New York Times Co., 22 F.3d 310, 317 (D.C. Cir. 1994) (“Because the

reader understands that such supported opinions represent the writer’s interpretation of the facts

presented, and because the reader is free to draw his or her own conclusions based upon those

facts, this type of statement is not actionable in defamation.”) This sensible rule recognizes that

“when a defendant provides the facts underlying the challenged statements, it is clear that the

challenged statements represent his own interpretation of those facts, which leaves the reader

free to draw his own conclusions.” Bauman, 377 F. Supp. 3d at 11 n.7 (internal quotes omitted);

see also Milkovich, 497 U.S. at 27 n.3 (explaining the difference between an opinion implying

undisclosed facts and an opinion setting forth its factual basis, and confirming the latter is

nonactionable).

       Byrne frequently provided the underlying facts on which he opined. While Dominion

alleges that Byrne’s evidence was “manufactured” (Compl. ¶ 1), the Complaint itself shows that

he often based his statements on facts that were fully disclosed. Throughout the statements that

are alleged to be defamatory, Byrne cites his sources, as well as affirmatively encourages his

readers to do their own research. In fact, on Byrne’s website DeepCapture.com, he describes his

process as eschewing “journalistic methodology” in favor of self-sufficient investigations led by


                                                 28
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 38 of 62




individuals, directly encouraging his supporters to do their own research and verify their own

facts. (Ex. D.)

       In paragraph 153e, Dominion’s alleged defamatory statements are really Byrne’s

interpretations, conclusions, and inferences based on fully-disclosed facts and thoroughly-cited

evidence. In this blog entry, Byrne summarizes the evidence he believes show irregularities. He

discusses the origin and history of Smartmatic and its reported connections to Venezuela, which

Dominion does not dispute. He discusses the functionality of voting machines generally which

create the potential risk for manipulation by administrators or mere user error, which Dominion

does not dispute. He drops footnotes with hyperlinks to sworn affidavits filed in federal court. He

includes screenshots of emails, screenshots of networking software, press releases from

government agencies like Cybersecurity & Infrastructure Security Agency (CISA). He cites

articles in the New York Times, TV interviews, licensing arrangements, and he includes charts,

bars, tables, and graphs, based on data from the New York Times, that highlight spikes in vote

tallies at specific dates and times in specific states. Using figurative and expressive language,

Byrne submits:




(Compl. ¶ 153e.) This is a textbook form of constitutionally protected speech.

       Other examples of Byrne giving opinions based on fully-disclosed facts and encouraging

readers and listeners to draw their own conclusions, include the following:

                 During a live interview with Christopher McDonald on The McFiles, Byrne
                  shared his thoughts and opinions and told listeners to review the “graphs I’ll be
                  putting up tonight or tomorrow morning . . . . I post things on DeepCapture.com.”
                  (Compl. ¶ 153f.)

                 In another blog entry on DeepCapture.com, Byrne states, “You wanted the
                  evidence. Here is the evidence,” followed by a hyperlink to download a forensic
                  report of the Allied Security Operations Group, which discussed the events that

                                                  29
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 39 of 62




               occurred in Antrim County, Michigan and drew negative inferences from such
               events. (Compl. ¶ 153j.)

              The statements made in paragraph 153q contain screenshots of graphs filed in
               sworn affidavits that he relied on to support the claims made. (Compl. ¶ 153q.)

               5.      Other Statements are not Capable of Defamatory Meaning or
                       Susceptible to Proof

       Fifth, even where Byrne does not fully disclose facts, some of the challenged statements

are still not actionable because “opinion statements that lend themselves to varying

interpretations are insufficient for a defamation claim because they cannot be proved false.”

Clemmons v. Academy for Educational Development, 70 F. Supp. 3d 282, 308 (D.D.C. 2014)

(concluding statement that plaintiff’s leadership resulted in “management problems” was

unverifiable opinion); see also, e.g., Xeras v. Heiss, 933 F. Supp. 2d 1, 18 (D.D.C. 2013)

(statements that plaintiff engaged in “dishonest” and “deceptive” business practices were not

provably false); Wood v. American Federation of Government Employees, 316 F. Supp. 3d 475,

488 (D.D.C. 2018) (statement that plaintiff was a “gang member” was hyperbole that “would not

reasonably be understood in context as being fully and literally true”); Armstrong v. Thompson,

80 A.3d 177, 187 (D.C. 2013) (holding that statements suggesting the plaintiff engaged in

“serious integrity violations” and other “serious issues of misconduct . . . and unethical behavior”

were unverifiable opinions that simply “reflected one person’s subjective view of the underlying

conduct”); Rosen, 41 A.3d at 1258 (statement that plaintiff’s conduct “did not comport with the

standards that AIPAC expects of its employees” was not provably false because “standards” is “a

general term capable of multiple meanings” and “communicates no specific message about a

discernible fact to an uninformed hearer”); Deripaska v. Associated Press, 282 F. Supp. 3d 133,

147 (D.D.C. 2017) (“whether Deripaska’s business deals are worth investigating is not a




                                                30
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 40 of 62




verifiable statement of fact”); Bauman, 377 F. Supp. 3d at 11 (statement that plaintiff’s

involvement was “extremely suspicious” lacks provability and “therefore is not actionable”).

       This is so because the First Amendment “protects speech” and right to the freedom of

thought. “[C]onstitutionally speaking, ‘there is no such thing as a false idea.’” Bauman, 377

F. Supp. 3d at 10 (citing Competitive Enterprise Institute v. Mann, 150 A.3d 1213, 1241 (D.C.

2016) (quoting Milkovich, 497 U.S. at 18)).

       Accordingly, expressions of a subjective view, an interpretation, a theory,
       conjecture, or surmise are not provably false and thus cannot undergird a claim of
       defamation. In the same way, statements that amount to imaginative expression or
       rhetorical hyperbole cannot be libelous, as such statements are used not to
       implicate underlying acts but merely in a loose, figurative sense to demonstrate
       strong disagreement with another.

Bauman, 377 F. Supp. 3d at 11 (internal quotes and citations omitted).

       Throughout the Complaint, Dominion liberally accuses Byrne of defaming Dominion in

his criticisms that the election was rigged. “This election was hacked, the outcome was rigged

and should be completely ignored or discounted, I mean, through the court system. The courts

should throw it out.” (See, e.g., Compl. ¶ 153a.) This is paradigmatic protected opinion as

“imaginative expression,” rhetorical hyperbole,” or “expression of outrage.” Bauman, 377

F. Supp. 3d at 11; see also Horsley v. Rivera, 292 F.3d 695, 702 (11th Cir. 2002).

       Dominion attempts to argue that any claim asserting a U.S. election was “rigged” is

extraordinary and must be based on verifiable evidence. (Compl. ¶ 65.) But the reality is these

types of claims are hardly novel, much less actionable. Indeed, the “election is rigged” cry has a

long history. For as long as there have been elections, there have been fears that somebody might

rig or steal them. History shows that in the hotly contested race of 1800, supporters of Aaron

Burr insisted that Thomas Jefferson had cheated him out of the presidency. Allegations of stolen

elections similarly plagued the 1824 contest between Andrew Jackson and John Quincy Adams.


                                                31
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 41 of 62




In more modern times, four out of the last six presidential elections have been subject to

accusations that they were “stolen” or “rigged.” Byrne’s statements here are no different.

       In paragraph 153c and elsewhere, Dominion quotes Byrne as saying:

       When you get talking about, you know, thousands of votes in a row for one
       candidate, just to give you the mathematical odds against it, if you’re talking about
       a group that has a 96% percent affinity for Biden. So imagine we’re talking about
       very heavily Biden ward, the chance of having a hundred votes in a row for Biden.
       If it’s not, if the chance of every vote is 96% for Biden, the chance he would have
       a hundred in a row is about 1.6%. The chances you would have a thousand in a row
       goes to it’s about a quad, um, a couple quadrillion to one, and the chances that you
       would have the kinds of numbers we were seeing, where there were places where
       there were tens of thousands of votes in a row for Biden, the chances of that are
       quadrillions and quadrillions and quadrillions against that could ever happen in
       nature.

(Compl. ¶ 153c.) But these types of statements amount to nothing more than Byrne’s mere

imaginative expressions and constitutionally protected suspicions, and they are not actionable as

defamation.

       The same is true with respect to the following challenged statements:

              “[T]he outcome was rigged and should be completely ignored or discounted. . . .
               Doesn’t [it] seem a little odd that Mr. Biden was behind in states 800-, 600,000
               votes, and then he has this come-from behind victory and wins by 14,000?”
               (Compl. ¶ 153a.)

              “This stuff, from a security point of view, this election machinery . . . is a joke.”
               (Compl. ¶ 153d.)

              “Election 2020 is an egg that can’t be unscrambled.” (Compl. ¶ 153e.)

              “[T]he beauty of using those four cities is when they cheat there, then as it starts
               to get revealed they can say oh, you don’t like black people, you’re trying to
               suppress the vote…This is really the elite class has always hid behind black
               people.” (Compl. ¶ 153f.)

              “There’s all kinds of crooked [inaudible] and the people who are saying otherwise
               are talking through their hats.” (Compl. ¶ 153g.)

              “An eighth grader could hack this stuff.” (Compl. ¶ 153g.)



                                                 32
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 42 of 62




               “What was Seth Rich, before he got killed . . . he had a particular position in the
                DNC, that would have put him in a position to know all the things you’re now
                hearing. . . . They couldn’t let him walk around if he was not on board.” (Compl.
                ¶ 153i.)

               “[W]hat’s going on is the elites are once again using the black community as their
                shield. . . . It’s not voter fraud, it’s election fraud. The election officials and a
                machinery is what cheated. . . . And what I hope is . . . the black community
                wakes up to how they’ve been used by left elites.” (Compl. ¶ 153k.)

       For hyperbolic statements and subjective beliefs such as these, no reasonable factfinder

could conclude that Byrne was defaming Dominion or any other party. These statements

constitute his “take” on the possibility that the election was stolen, not a defamatory attack on

Dominion’s alleged role in the 2020 presidential election.

                       a.      The Broad and Specific Context of Byrne’s Commentary
                               Confirms These Statements are Constitutionally Protected as
                               Opinion

       The full context in which Byrne made his statements confirms they are protected opinion.

In considering whether an alleged defamatory statement was one of fact or opinion, the context

of the statement is a critical part of the analysis. Farah, 736 F.3d at 534-35; see also Herring

Networks, Inc. v. Maddow, 445 F. Supp. 3d 1042, 1049 (S.D. Cal. 2020) (the court must examine

the “totality of the circumstances” in which the statement was made), aff’d, 8 F. 4th 1148 (9th

Cir. 2021); Michaelis v. CBS, Inc., 119 F.3d 697, 700 (8th Cir. 1997) (“In determining whether a

particular statement is defamatory, a court must review the statement in the context in which it

was presented, give the words their obvious an natural meaning, and consider the innuendos

which follow from the statement.”); Bauman, 377 F. Supp. 3d at 11 (observing that the line

between fact and opinion is not always bright, that statements don’t always fit neatly into

categories, and that the answer, “quite often, depends on the context of the statement in

question.’”).



                                                 33
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 43 of 62




       This context “includes not only the immediate context of the disputed statements, but also

the type of publication, the genre of writing, and the publication’s history of similar works.”

Farah, 736 F.3d at 535. The “broader social context” too is critical to discerning whether a

disputed statement is actionable. Id. After all, the setting or surrounding circumstances of a

statement can reveal how the audience might receive it. Moldea, 22 F.3d at 314. In Bauman v.

Butowsky, for instance, the defendant’s statements were not actionable defamation, but instead

were part of a “charged, back-and-forth public exchange . . . over Butowsky’s role in spreading a

conspiracy theory about Seth Rich’s murder.” Bauman, 377 F. Supp. 3d. at 14.7

       Byrne’s statements were just a sprinkling in a hurricane of public controversy

surrounding the outcome of the 2020 presidential election and long history and ongoing debate

about the reliability of electronic voting. There were: (a) election-related lawsuits filed in various

states across the country, with the full-support of the president and senior congressional members

in his party; (b) controversies between states and direct appeals to the Supreme Court of the

United States; (c) inaccurate vote tabulation results in Antrim County, Michigan, which gained

national attention due to reported human error; (d) independent audits of election results in

various states and counties; (e) election integrity and security claims led by a sitting President of

the United States and an experienced legal team; and (f) swirling news media with political


7
  See also Schnare v. Ziessow, 104 F’Appx. 847, 851 (4th Cir. 2004) (holding accusation was not
actionable defamation because, in context, the assertion was part of a “vigorous and angry
expression[ ] of disagreement.”); Horsley v. Rivera, 292 F.3d 695 (11th Cir. 2002) (defendant’s
claim that plaintiff was “an accomplice to homicide” was non-actionable hyperbole because,
among other things, it was made during “an emotional debate concerning emotionally-charged
issues of significant public concern.”); Fudge v. Penthouse Intern., Ltd., 840 F.2d 1012, 1017
(1st Cir. 1988) (“In the charged context of a debate over a matter of public concern, the reader
will expect a certain amount of hyperbole and loose characterization—in short, a certain amount
of opinion.”); Campbell v. Citizens for an Honest Gov’t, Inc., 255 F.3d 560, 577 (8th Cir. 2001)
(“[w]hile we are not aficionados of conspiracy theories, we suppose that if [defendant’s]
assertions are true, there would be inherent difficulties in verifying or refuting such a claim”).

                                                 34
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 44 of 62




punditry on the same. (See generally Compl.) All of this, along with other ongoing factors in

2020, such as the rise of unconventional beliefs against the establishment, the shift in political

tone throughout the Trump administration, and the dissatisfaction of many citizens with the

results and perceived cultural and social elite, inform the context in which Byrne made his

statements asking questions about and criticizing the propriety of the election.

       Courts recognize the value in some level of “imaginative expression” or “rhetorical

hyperbole” in our public debate, Milkovich, 497 U.S. at 2, in recognition of the value “reached

by [the] free trade in ideas—that the best test of truth is the power of the thought to go get itself

accepted in the competition of the market,” Abrams v. United States, 250 U.S. 616, 630 (1919)

(Holmes, J., dissenting); Snyder v. Phelps, 562 U.S. 443, 460-61 (2011). Further, reasonable

consumers of political news and commentary must understand that a considerable portion of

political content is subjective opinion and that statements contained in this setting must be

viewed in this context. See, e.g., Washington v. Smith, 893 F. Supp. 60, 64 (D.D.C. 1955)

(holding that readers of sports magazines, for instance, “understand that a considerable portion of

the magazine’s content is subjective opinion,” and that the statements contained therein “must be

viewed in this context.”).

       So too here, in light of this broad political context and with respect to Byrne’s statements,

he was simply articulating his own theories and subjective beliefs.

       In addition, it bears noting that Byrne made his statements predominantly on

conservative-leaning news networks, such as Newsmax, OAN, and BizTV. (See generally

Compl. ¶ 153.) Courts give a great deal of deference when considering the context of statements

made during a cable broadcast television show. See, e.g., Herring, 8 F.4th at 1157-58 (affirming

district court’s conclusion that Rachel Maddow’s comment that OAN “really, literally is paid



                                                  35
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 45 of 62




Russian propaganda” was obvious exaggeration based on the nature and context of The Rachel

Maddow show itself); McDougal v. Fox News Network LLC, 489 F. Supp. 3d 174, 182-84

(S.D.N.Y. 2020) (determining that Tucker Carlson’s statements constituted “rhetorical

hyperbole” and were not defamatory given an established reputation for “overheated rhetoric”

and “pitched commentary”); Fram v. Yellow Cab Co. of Pittsburg, 380 F. Supp. 1314, 1330-31

(W.D. Pa. 1974) (talk-show viewers, “accustomed to hearing criticism, accusation, and

controversy” would understand accusations as opinion).

        Byrne also made statements on his personal blog, DeepCapture.com. With respect to

blogs and the internet, a court may consider the appearance of the site itself, how the website

categorizes or tags individual blog posts, and how headlines are titled to discern the context of

their content. See Farah, 863 F. Supp. 2d at 38.

        An examination of the specific context in which Byrne’s statements were made establish

an environment of subjective commentary, not just assertions of fact. The news networks on

which he appeared are known for unscripted, unrehearsed dialogue where hot-button issues are

discussed and opinions are made in a tone that is at best biased or rhetorical, but constitutionally

speaking, still protected as opinion. As for the websites, Byrne’s personal blog had a specific

brand that reasonable consumers would understand contain subjective beliefs. In fact, the website

describes DeepCapture.com as a website that “was created to bypass the ‘captured’ institutions

that mediate our nation’s discourse” and advance theories intended to uncover the secrets of

social institutions. (Ex. D.)

        C.      Dominion Has Failed to Plead that Byrne Acted with Actual Malice

        Dominion’s complaint should also be dismissed for the entirely separate reason that it has

failed to plead actual malice. Dominion must plead actual malice with clear and convincing

evidence because Dominion is a public official or limited public figure. Actual malice is a

                                                   36
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 46 of 62




“famously daunting” standard. Tah v. Global Witness Publ’g, Inc., 991 F.3d 231, 240 (D.C. Cir.

2021) (citing McFarlane v. Esquire Magazine, 74 F.3d 1296, 1308 (D.C. Cir. 1996)). It is a

subjective test that requires a plaintiff to show that the defendant speaker “in fact” had a “high

degree of awareness of probable falsity.” St. Amant v. Thompson, 390 U.S. 721, 731 (1968).

Dominion’s allegations fall short.

               1.      Dominion is a Public Plaintiff Subject to the Actual Malice Standard

       Initially, there can be no doubt that Dominion—which trumpets how it supplied

electronic voting services to nearly half of American voters spread across 28 states and Puerto

Rico in the 2020 presidential election (Compl. ¶ 30)—is a public official or limited public figure.

       Public officials are those persons “who have, or appear to the public to have, substantial

responsibility for or control over the conduct of governmental affairs.” Rosenblatt v. Baer, 383

U.S. 75, 85 (1966). They include any individual, down to a school teacher, who plays some

fundamental part in governmental affairs. Lorain J. Co. v. Milkovich, 474 U.S. 953, 959-60

(1985). They also include any person who holds “a position in government [of] such apparent

importance that the public has an independent interest in the qualifications and performance of

the person who holds it.” Rosenblatt, 383 U.S. at 86.

       A limited public figure is a person or entity that “voluntarily injects” itself “to the

forefront of a particular public controversy” or “is drawn into a particular public controversy and

thereby becomes a public figure for a limited range of issues.” Gertz v. Robert Welch, Inc., 418

U.S. 323, 351 (1974); Fridman v. Orbis Bus. Intel. Ltd., 229 A.3d 494, 504 (D.C. Cir. 2020).

Under either metric, Dominion is a public plaintiff.

                       a.      Dominion Qualifies as a Public Official

       Dominion is a public official because it fulfills a vital government role in the election

process: counting and tabulating votes in an election. Dominion provides this function in over

                                                 37
         Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 47 of 62




half of the states in the country by contracting with state and local governments for the provision

of voting systems and services. (Compl. ¶ 30.) Dominion admittedly performs this role in

exchange for “tens of thousands of dollars” or “over a hundred million dollars” from the public

fisc. (Compl. ¶ 30.) These facts demonstrate that Dominion holds a position that invites public

discussion and scrutiny over how it operates and performs its role. They also demonstrate that

Dominion is a public official that has placed itself at the heart of one of the most important

functions of government: determining the victor of an election and thus very makeup of our

government itself. And these facts establish beyond a doubt that Dominion has “substantial

responsibility for or control over the conduct of governmental affairs” and that “the public has an

independent interest in [Dominion’s] qualifications and performance.” Rosenblatt, 383 U.S. at

85-86.

         Even though virtually all public officials are government employees, the fact that

Dominion is instead a private entity is not controlling because “[g]overnment employment is not

a dispositive factor where the plaintiff in all other respects serves as a public official.” Young v.

CBS Broadcasting, Inc., 2012 WL 6722061 (Cal. App. 3d Dist. 2012).8 To be sure, an entity that

contracts with state and local governments to supply over half the country with electronic voting

systems, voting equipment, software, training, and technical assistance to count and tabulate

votes and verify election results is undeniably a public official.9


8
  See also Ghafur v. Bernstein, 131 Cal. App. 4th 1230, 1239 (1st Dist. 2005) (superintendent of
private charter school system held to be a public official where charter schools under California
law are considered part of the public school system); HBO, A Div. of Time Warner
Entertainment Co., L.P. v. Harrison, 983 S.W.2d 31, 37-38 (Tex. App. Houston 14th Dist. 1998)
(court-appointed psychologist held to be a public official where court gave him power to decide
issues of visitation).
9
  See, e.g., Hatfill v. New York Times Co., 488 F. Supp. 2d 522 (E.D. Va. 2007) (holding that a
weaponry expert who contracted with the government to perform governmental functions and
train other government officials was a “public official”); Green v. Northern Publishing Co., 655
                                                  38
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 48 of 62



                        b.      Dominion Qualifies as a Limited Public Figure

        Dominion alternatively took on the status of a limited public figure. As discussed in the

background section above and as Dominion points out in its complaint (Compl. ¶¶ 58, 60, 66,

69), debate over the security and integrity of electronic voting machines generally and

Dominion’s system in particular has persisted in the public discourse for decades. This debate

over electronic voting machines and Dominion’s system predates the November 2020 election,

and Dominion has been a willing participant in the conversation. Indeed, Dominion squarely

thrust itself into the public eye for the specific purpose of building voter confidence in the

fidelity of its voting machines and technology at the highest levels.

        On January 9, 2020, Dominion founder and chief executive John Poulos appeared before

Congress—along with Dominion’s competitors and other witnesses—where he testified:

        I agree with the importance of this—of the issues being raised by the Chairperson
        and Ranking Member regarding election security and integrity at today’s hearing.
        American elections safeguard and preserve the freedoms and rights guaranteed by
        the U.S. Constitution. At Dominion, we take pride in our small role in assuring
        voters that they can have confidence in election results. We go to work every day
        understanding this important responsibility. . . . This past year alone, Dominion
        assisted State and local election officials in conducting nearly 300 elections
        complete with the rigorous public scrutiny that comes with it.

(Ex. C4.) In addition, Dr. Eric Coomer, Director of Product Strategy and Security for Dominion,

defended the security and reliability of Dominion’s voting machines in the Curling litigation on

behalf of the State of Georgia defendants. See Curling, 493 F. Supp. 3d at 1278.

        The “touchstone” of the public figure analysis “remains whether an individual has

‘assumed [a] role[ ] of especial prominence in the affairs of society . . . [that] invite[s] attention

and comment.’” Tavoulareas v. Piro, 817 F.2d 762, 773 (D.C. Cir. 1987) (quoting Gertz, 418



P.2d 736 (Alaska 1982), cert. denied, 463 U.S. 1208 (holding that a doctor who contracted with
the state government to provide medical services to jails was a “public official”).

                                                  39
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 49 of 62




U.S. at 345). There is no question that Dominion is a limited public figure under this rubric.

Dominion voluntarily participated in the ongoing debate about election security and integrity as

it relates to its voting machines. This is a clear indication that Dominion “assumed the risk” that

it could become embroiled in further controversy over election security or results. Lohrenz v.

Donnelly, 350 F.3d 1272, 1280 (D.C. Cir. 2003); Jankovic v. International Crisis Grp., 822 F.3d

576, 584 (D.C. Cir. 2016) (thrusting oneself into the forefront of public controversy “in order to

influence the resolution of the issues involved” renders one a limited public figure). For these

reasons, Dominion easily qualifies as a limited public figure.

               2.      Dominion has not Pled Actual Malice under the Knowledge of Falsity
                       Prong

       As a public plaintiff, to hold a defendant liable for defamation, Dominion must plead and

ultimately prove by clear and convincing evidence that Byrne acted with “actual malice.” New

York Times, 376 U.S. at 280; Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287, 1292

(D.C. Cir. 1988). That is, with knowledge that the statement was false or with reckless disregard

for the truth. New York Times, 376 U.S. at 280. Given the Supreme Court’s requirement that to

satisfy Rule 8 a complaint must contain “enough facts to state a claim to relief that is plausible

on its face,” Twombly, 550 U.S. at 570, including state-of-mind fault, Iqbal, 556 U.S. at 686-87,

“actual malice allegations must be supported by plausible factual allegations sufficient to meet

the standard.” Deripaska, 282 F. Supp. 3d at 133 (dismissing claim where pleaded facts failed to

establish actual malice).

       Dominion’s complaint falls short of this daunting standard. Dominion alleges no facts

which, if proven by clear and convincing evidence, would show that Byrne subjectively knew his

statements were false. Instead, Dominion offers only the singular threadbare allegation that

“Byrne actually knew” his statements “were false” (Compl. ¶ 154), which is insufficient to plead


                                                 40
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 50 of 62




actual malice. See, e.g., Tah, 991 F.3d at 239 (citing Twombly and Iqbal); Schatz v. Republican

State Leadership Comm., 669 F.3d 50, 56 (1st Cir. 2012) (finding that a plaintiff’s complaint

using “actual-malice buzzwords” was not sufficient); Mayfield v. Nat’l Ass’n for Stock Car Auto

Racing, Inc., 674 F.3d 369, 377-78 (4th Cir. 2012) (rejecting argument that allegations of malice

need only be articulated in general terms); Arpaio v. Cottle, 404 F. Supp. 3d 80, 84-85 (D.D.C.

2019) (citing Mayfield, supra).

           Dominion has not alleged how Byrne’s statements were published with knowledge of

their falsity. Dominion only attempts to establish Byrne’s state of mind by what he should have

known because he “is far too intelligent” to believe the statements he made. (Compl. ¶ 9.)

However, “it is not enough to show that defendant should have known better.” Jankovic, 822

F.3d at 589. It is equally not enough to show actual malice in the abstract. Tavoulareas, 817 F.2d

at 794. Dominion must plead that Byrne in fact knew, subjectively, that his statements were

false, and Dominion must “demonstrate such actual malice in conjunction with a [particular]

false defamatory statement” he made. Id. at 794 (emphasis in original). Dominion has failed to

do that.

           More significantly, Dominion’s conclusory allegations are themselves belied by Byrne’s

statements. To be sure, Dominion’s complaint falls short because Byrne never wavered in his

statements and theories. Time and again, as Dominion’s complaint makes plain, Byrne explained

what he relied on and underscored his background and credentials, earnestly putting his own

credibility on the line each time. For instance, in a television appearance on the Newsmax show

National Report with host Emma Rechenberg, Byrne underscored: “I don’t mean to sound like

I’m beating my chest, I was a national entrepreneur of the year . . . I’m also a PhD from Stanford

[and] a Marshall scholar in science. I’m putting all that credibility on the line. This election was



                                                 41
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 51 of 62




hacked, the outcome was rigged and should be completely ignored or discounted, I mean,

through the court system. The courts should throw it out.” (Compl. ¶ 153a.)10

       In short, Byrne believed what he said then, and he still believes his statements now. The

absence of any well-pled allegations showing Byrne, to the contrary, actually knew his

statements were false is fatal. Accordingly, to the extent Dominion rests on the knowledge-of-

falsity prong to establish actual malice, this case is doomed.

               3.      Dominion has not Pled Actual Malice under the Reckless Disregard
                       Prong

       Dominion’s complaint fares no better under the more lenient reckless disregard standard

for actual malice. A defendant acts in reckless disregard of the truth if he acted “‘with a high

degree of awareness of [the statement’s] probable falsity.’” St. Amant, 390 U.S. at 731 (quoting

Garrison v. Louisiana, 379 U.S. 64, 74 (1964)); Harte-Hanks Communications, Inc. v.

Connaughton, 491 U.S. 657, 667 (1989). Reckless conduct “is not measured by whether a

reasonably prudent man would have published, or would have investigated before publishing”

the statement. St. Amant, 390 U.S. at 731. Further, reckless conduct is not measured by a mere

negligence or objective reasonableness standard. Rather, a public plaintiff must prove that the

speaker “in fact entertained serious doubts as to the truth of [the] publication,” see id., or actually

“harbored subjective doubt,” Jankovic, 822 F.3d at 589. See also Tah, 991 F.3d at 240 (same).

       This level of subjective doubt can be proven through direct or circumstantial evidence.

However, whether through the cumulation of direct or circumstantial evidence, the reckless

disregard standard is not met easily. Tah, 991 F.3d at 240 (confirming it is “daunting”). “Few


10
  See also Compl. ¶ 153f and n.160; and see Compl. Ex. 351 [Doc. 2-3] (“I normally wouldn’t
beat my chest about this. I’m a guy who built a two billion dollar e-commerce company. I was
named national entrepreneur of the year. I’m a PhD from Stanford. I [am] something called a
Marshal scholar. . . . This election was rigged, and I’m saying this not as a Trump supporter.”).

                                                  42
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 52 of 62




public figures have been able clearly and convincingly to prove that the scurrilous things said

about them were published by someone with ‘serious doubts as to the truth of his publication.’”

McFarlane v. Sheridan Square Press, Inc., 91 F.3d 1501, 1515 (D.C. Cir. 1996) (quoting St.

Amant, 390 U.S. at 731). And Dominion has not met that high standard here.

       As demonstrated throughout this section of the brief, Dominion’s complaint fails on

numerous fronts to plead sufficient facts to support an inference of actual malice. Dominion’s

allegations concerning “The misleading photograph” (Compl. ¶ 99 (emphasis in original))

exemplify the shortcomings in Dominion’s pleadings regarding actual malice in the Complaint.

       In paragraph 99, Dominion alleges Byrne posted a photograph on his blog saying it

proved Dominion voting machines are manufactured in China. (Compl. ¶¶ 99 and 153o.)

Specifically, on January 31, 2021, Byrne, using idiomatic language, published the following:

       On the dictum that “a picture is worth 1,000 words,” I will start with something to
       end debate on whether Dominion machines are made in China:




(Compl. ¶ 153o.)



                                                43
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 53 of 62




       Byrne is not an employee of Dominion. He does not have inside knowledge of the supply

chain for Dominion parts. There is no allegation in the Complaint to the contrary. Rather, the

boxes are large in size. They state “Dominion Voting . . . Made in China” on the exterior.

Procuring electronics from China is not uncommon. (See Compl. ¶ 99 (conceding the same).)

Byrne simply made a good educated guess. According to Dominion, however, Byrne was “well

aware” that its voting machines were not sourced from China; apparently only “transport bags”

and a “small number of subcomponents” come from there. (Compl. ¶ 99.) And Byrne knew all

this because it “specifically pointed [it] out to him in a letter on March 31, 2021.” (Compl. ¶ 99

(emphasis in original); see also Compl. Ex. 362 [Doc. 2-14 at 11-29].)

       These allegations do not create a reasonable inference of actual malice. First, the denial

letter relied on so heavily by Dominion cannot have raised any doubts by Byrne for the simple

reason that it was issued in March 2021, two months after Byrne’s alleged statement. See, e.g.,

Herbert v. Lando, 781 F.2d 298, 305-06 (2d Cir. 1986) (information acquired after publication is

not relevant). Second, there are no allegations that even remotely suggest, must less establish

clearly and convincingly, that Byrne knew, or in fact harbored subjective doubt or a high degree

of awareness, that his statement was inaccurate and that the boxes only contained bags and not

machines as represented by Dominion.

       Dominion indicates that the words “Transport Bag” were obscured in the photo behind a

metal beam, but that part of the words could be made out. (Compl. ¶ 99.) How though could

Byrne be certain, under these facts, about what’s in the box? Even if the words were fully

legible, Dominion expects him (or anyone else for that matter) to know for sure that these boxes

only contain bags simply because the word bag is written on the box? Byrne did not have

firsthand knowledge about this. Subjective awareness remains only pertinent at the time of



                                                44
          Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 54 of 62




publication. See McFarlane, 91 F.3d at 1508 (“the inference of actual malice must necessarily be

drawn solely upon the basis of information that was available to and considered by the defendant

prior to publication.”) (citing Bose Corp. v. Consumers Union of United States, Inc., 466 U.S.

485, 498 (1984)). And Dominion’s repeated assertions that Byrne was “well aware” that this was

all a lie are simply conclusory assertions, unsupported by factual allegations, and they are

entitled to no weight on this motion to dismiss.

          The same errors seen in Dominion’s treatment of this purported misleading photo plague

the remainder of Dominion’s other purported allegations of actual malice. To be sure, the

Supreme Court has delineated three circumstances that may give rise to a subjective inference of

actual malice: (1) where a story is “fabricated” by the defendant; (2) when the publisher’s

allegations are “so inherently improbable that only a reckless person would have put them in

circulation;” and (3) where the story is “based wholly on an unverified anonymous telephone call

or some other source that [it] had obvious reasons to doubt.” Lohrenz, 350 F.3d at 1283.

Dominion has not alleged facts to reasonably support any of these circumstances.

          Consider again Dominion’s allegations with respect to the “misleading photograph.” It is

clear from the allegations in the Complaint that Byrne did not fabricate this photo. Indeed,

Dominion does not deny the boxes are real. It is also not inherently improbable that Dominion

machines may come from China when Dominion admits in its complaint that “a small number of

subcomponents” for Dominion machines “are sourced from China” just like “microchips in

many Americans’ cell phones and computers are sourced from China.” (Compl. ¶ 99 (emphasis

mine).)

          As another example, consider Dominion’s allegations concerning statements linking

Dominion to Smartmatic and/or Venezuela. The notion that a voting machine company could



                                                   45
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 55 of 62




have ties to Venezuela is not fabricated. Nor is it inherently improbable because it is, of course, a

true story in the case of Smartmatic. It is also true that because of those Venezuelan ties,

Smartmatic had to divest ownership of its former subsidiary Sequoia, whose assets were then

subsequently purchased by Dominion. Dominion admits it purchased Sequoia’s assets. Still, it

insists that such assets “did not contain any Smartmatic software, source code, or algorithms.”

(Compl. ¶ 112.) Even if true, Dominion does not allege and could not allege that Byrne actually

knew what specific assets from the Sequoia asset purchase were put to use by Dominion. The

point here is not that the challenged statements and allegations are actually true, but that given

the interlocking corporate history of the voting machine companies (i.e., from Smartmatic to

Sequoia to Dominion), it is not inherently improbable that technology would overlap.

       Dominion nevertheless attempts to advance the following four bases for alleging actual

malice, none of which—individually or collectively—“nudge[s]” Dominion’s scienter claims

“across the line from conceivable to plausible.” Iqbal, 556 U.S. at 680.

                       a.      The Reasonably Prudent Man is not the Yardstick for Reckless
                               Conduct

       To begin with, the Complaint alleges that “Byrne was not hoodwinked” and that he “is

far too intelligent to buy the nonsense he has been selling to the American public” or to “tout”

certain reports or sworn affidavits as evidence “about Dominion.” (Compl. ¶¶ 9 and 56.) The

Complaint further alleges that “so many knowledgeable sources had rebutted these lies Byrne . . .

falsely claimed[.]” (Compl. ¶ 7.) Reckless disregard for the truth, however, “requires more than a

departure from reasonably prudent conduct.” Harte-Hanks, 491 U.S. at 688. It is the speaker’s

subjective understanding of falsity that a public plaintiff must demonstrate. It follows that

“[e]ven highly unreasonable conduct constituting an extreme departure from the standards of




                                                 46
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 56 of 62




investigation and reporting ordinarily adhered to by reasonable publishers does not establish

actual malice.” Parsi v. Daioleslam, 890 F. Supp. 2d 77, 81 (D.D.C. 2012).

       Even if other “knowledgeable sources” may have “rebutted” Byrne’s claims as alleged,

that fact is insufficient to establish that Byrne had a high degree of awareness of probable falsity,

or actually in fact entertained serious doubts. (Compl. ¶¶ 6-7.) This is because reckless conduct

is not litigated based on consensus opinion. It is “not enough to show that a defendant should

have known better; instead, the plaintiff must offer evidence that the defendant in fact harbored

subjective doubt.” Jankovic, 822. F.3d at 589.

       The best evidence Dominion can point in support of its subjective doubt claims is the

general controversy surrounding the reliability and credibility of some of Byrne’s sources. To

this, Dominion says throughout the Complaint that such sources were “wholly unreliable and

discredited.” (See generally Compl.) But even that evidence “must be viewed in light of”

whether “the very same allegations [were made] . . . under oath—and under the realistic threat of

a penalty of perjury.” McFarlane, 91 F.3d 1515-16.

       The sources characterized by Dominion as “unreliable” are the same sources who

eventually filed the verified complaints and sworn affidavits in the post-election lawsuits across

the country. These lawsuits were covered, reported, and discussed by virtually all members of

the press. Byrne similarly commented on these allegations and sworn affidavits that were

submitted as official court documents by experienced litigators.11 Under these facts, there simply



11
   In the separate defamation lawsuit commenced by Dominion against Sidney Powell, this very
Court rejected Powell’s ‘no reckless disregard’ defense on motion to dismiss partly because of
her profession and experience. Dominion alleged that Powell is a former federal prosecutor and
experienced litigator who knew about the grave problems with her experts’ reliability and must
have entertained serious doubts as to the truth of the statements she made in her pleadings in
reliance on her experts’ sworn affidavits. See U.S. Dominion, Inc., et al. v. Powell, et al., Nos.
1:21-cv-00040, 1:21-cv-00213, 1:21-cv-00445, 2021 WL 3550974, at *11 (D.D.C. Aug. 11,
                                                 47
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 57 of 62




is not enough evidence to show that Byrne actually “entertained serious doubts as to the truth of”

his statements. St. Amant, 390 U.S. at 731.

                        b.      Preconceived Notions, Suspicions, or Partisan Agendas do not
                                Show Reckless Conduct

        Second, the Complaint exhausts the well-worn trope that Byrne “had a preconceived

narrative” that “Dominion had rigged the 2020 election.” (Compl. ¶¶ 2, 46, 73, and 98.) Byrne

denies this. The alleged defamatory statements were motivated by the desire to discuss and give

an accounting of the issues involving electronic voting machines and the 2020 election as “a

historically worthy thing to do.” (Compl. ¶ 153a.) Even assuming it were true that Byrne had a

preconceived narrative, it is well-established that “allegedly having a pre-conceived story line is

not sufficient to demonstrate actual malice.” Jankovic v. International Crisis Grp., 72

F. Supp. 3d 284, 312 (citing Tucker v. Fischbein, 237 F.3d 275, 286 (3d Cir. 2001)); Tah, 991

F.3d at 242 (“Our court . . . has made [this point] clear”). It is only the speaker’s subjective

awareness of falsity that is at issue.

        Further, the partisan agenda Dominion implies Byrne had—which he did not—is also

immaterial to the actual malice analysis. As the D.C. Circuit has explained, where a speaker

“may have adopted an adversarial stance” toward the subject of a challenged statement, that

“attitude is not antithetical to the truthful presentation of facts.” Jankovic, 822 F.3d at 596.

Simply put, the First Amendment applies to advocates as well.

        In any event, Dominion’s own pleadings rebut the notion that Byrne acted according to a

preconceived narrative or partisan agenda. According to the Complaint and Byrne’s actual

statements, he made clear that, “My ultimate purpose (my only real purpose) is to deliver to the



2021) (Nichols, J.). There is no equivalent allegation from which to draw a similar inference of
subjective doubt or high degree of awareness of probable falsity against Byrne here.

                                                  48
          Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 58 of 62




public as honest a rendering as I may construct” and to “honestly convey[ ] the truth for

historical purpose.” (Compl. ¶¶ 153a and 153r.)

                         c.     Refusing to Accept Denials or Demands for Retraction does
                                not Show Reckless Conduct

          Third, Dominion seeks to draw an inference of actual malice from Byrne’s failure to

credit Dominion’s denials and letter demands for retraction dated March 31 and June 18, 2021.

(See, e.g., Compl. ¶ 104 and n.112, and Compl. ¶ 123 and n.135; see also Compl. Ex. 362 [Doc.

2-14].) However, “[t]his too finds no support in our First Amendment case law.” Tah, 991 F.3d

at 242.

          Failure to retract a publication upon request is “not adequate evidence of malice for

constitutional purposes.” New York Times, 376 U.S. at 286. A publisher “need not accept denials,

however vehement” as such denials “are so commonplace in the world of polemical charge and

countercharge that, in themselves, they hardly alert the conscientious reporter to the likelihood of

error.” Lohrenz, 350 F.3d at 1285. In fact, even assuming Dominion’s retraction letter arrived

and was reviewed by Byrne prior to his alleged defamatory statements, refusing to retract a

statement may actually “demonstrate [a] lack of malice—as showing continued genuine belief in

the published account.” Tavoulareas, 763 F.2d at 1477.

                         d.     Profit Motive does not Show Reckless Conduct

          Fourth, Dominion accuses Byrne of making the challenged statements out of a corrupt

profit motive: he is “currently financially invested in” or “connected to those who stand to gain

from” Dominion getting rejected in favor of blockchain voting technology. (Compl. ¶ 10.) Byrne

denies this; at all times he was motivated by the desire “to deliver to the public as honest a

rendering as I may construct” of what he surmised occurred in the 2020 election. (Compl. ¶

153a.)


                                                  49
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 59 of 62




       Dominion attempts to maintain that Byrne had a profit motive because of his past

involvement as chief executive of Overstock, where on March 7, 2019 “Byrne announced that

Overstock’s blockchain portfolio company Voatz planned to introduce a pilot program for the

upcoming Denver municipal elections allowing voters to use their own smartphones to cast

votes.” (Compl. ¶ 37.)

       The problem is Dominion’s allegations of this supposed profit motive are not tied to any

allegedly defamatory statement. See Tavoulareas, 817 F.2d at 794 (public plaintiffs cannot

“show actual malice in the abstract; they must demonstrate actual malice in conjunction with a

false defamatory statement.”). A close analysis of the various statements identified in paragraph

153 of the Complaint demonstrates that Byrne never mentioned an investment or financial

interest in blockchain voting technology. (See Compl. ¶ 153a through 153r.)12 Dominion

attempts to fix this deficiency by cobbling together other stories about Byrne’s blockchain

history and blockchain advocacy to suggest he had a financial incentive to lie about Dominion.

In this regard, Dominion alleges that Byrne “previously invested [in]” blockchain voting

technology based on his prior work with Overstock, or has “continue[d] to promote” blockchain

voting technology. (Compl. ¶ 119.) However, the implication still fails because it is fatally



12
   By contrast, in Dominion’s separate defamation lawsuit against Mike Lindell and his company
MyPillow, this Court denied the defendants’ motions to dismiss predicated on a ‘no subjective
doubt’ defense because, among other things, Dominion tied the defendants’ profit motive to the
alleged defamatory statements they made. For instance, Dominion alleged that MyPillow
sponsored rallies where displays showed a MyPillow ad featuring Lindell and offering viewers a
discount on MyPillow products if they used promotional codes like “ERIC,” “PROOF,” or
“Gorka”—people or concepts that were tied to the “stop-the-steal” election integrity accusations
being made against Dominion. In addition, Lindell appeared in television interviews where he
told audiences that the “President loves” MyPillow, encouraging them to purchase MyPillow
with promo codes after making additional claims of election fraud about Dominion. See US
Dominion, 2021 WL 3550974, at *4-5. There is no similar direct connection so clearly and
convincingly pled with respect to Byrne.

                                                50
          Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 60 of 62




undermined and contradicted by Dominion’s own pleadings, Byrne’s actual statements, and the

fact that Byrne’s purported blockchain interests were sold well before any alleged defamatory

statement was made.

          With regard to Dominion’s pleadings, Dominion essentially admits it doesn’t have clear

and convincing evidence of a profit motive because Dominion doesn’t know the current size of

Byrne’s investment in blockchain voting technology, if any. (Compl. ¶ 39.) This confirms that

Byrne sold his Overstock holdings in September 2019 when he parted ways from the company

and had no interest in Oversotck or Voatz at the time his statements were made.13 With regard to

Byrne’s actual statements, Dominion points to a bitcoin conference in “June 2021” where he

gave a speech about bitcoin and the potential benefits that blockchain technology might offer

society, including political life and voting. (Compl. ¶ 119.) However, nowhere in this speech

does Byrne mention Dominion or their voting machines, and nowhere in the Complaint does

Dominion allege otherwise. (Compl. ¶ 119 and n.129.)14 Dominion also references a Forbes

article published on June 10, 2021 as evidence of Byrne’s financial incentive to knowingly and

falsely disparage Dominion. (Compl. ¶ 119 and n.133.)15 Yet the reported statement “I think our

society needs to go to blockchain voting systems or we need to go back to paper” hardly




13
     See note 2, supra.
14
  A video of Patrick Byrne’s approximately 30-minute speech at this bitcoin conference in June
2021 is available on YouTube at https://www.youtube.com/watch?v=dG86DLJKmNA (last
visited Nov. 17, 2021).
15
   Billy Bambrough, Pro-Trump Fundraiser Calls For A Radical Overhaul Of The U.S. Voting
System Using Blockchain, Forbes (Jun. 10, 2021), available at
https://www.forbes.com/sites/billybambrough/2021/06/10/former-trump-advisor-calls-for-a-
radical-overhaul-of-the-us-voting-system-using-blockchain/?sh=654f3942d9a6 (last visited Nov.
17, 2021).

                                                 51
          Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 61 of 62




qualifies as clear and convincing evidence of a profit motive to infer Byrne actually knew his

statements were false or in fact entertained serious doubts about the truth.

          Even if Byrne did have a profit motive—which he did not—it is well established that

allegations about a profit motive do not, as a matter of law, suffice to establish actual malice

without more. Harte-Hanks, 491 U.S. at 666-67; Jankovic, 822 F.3d at 596. Virtually every

person has an interest to make or earn money, and nothing about that indicates malicious intent

or a reckless disregard for the truth, and it would be dangerous—if not outright hostile to the

Constitution from a First Amendment perspective—to infer otherwise.

                         e.     Alone or Together, Dominion’s Purported Theories for
                                Reckless Conduct do not Amount to Actual Malice

          In sum, none of these actual malice allegations would, if proven with clear and

convincing clarity, plausibly establish that Byrne knowingly published false and defamatory

statements about Dominion, nor were such statements “so inherently improbable that only a

reckless man would have put them in circulation.” St. Amant, 390 U.S. at 732. That conclusion

remains the same whether these allegations are considered individually or collectively. As the

D.C. Circuit held in McFarlane v. Sheridan Square Press, Inc., when each of plaintiff’s

arguments “provides little or no additional support for a finding of actual malice” on their own,

even when viewed together “cumulatively, they do not amount to much, and surely not enough

under the standard set by the Supreme Court.” 91 F.3d at 1516; accord Jankovic, 822 F.3d at 597

(stating that plaintiff’s individual arguments on actual malice “fare no better when viewed in the

aggregate,” and concluding that “[e]ven taking these flawed evidentiary assertions together, no

reasonable jury could find by clear and convincing evidence that [defendant] acted with actual

malice.”). Dominion has simply failed to carry its burden to allege a plausible claim of actual

malice.


                                                  52
       Case 1:21-cv-02131-CJN Document 25-1 Filed 11/17/21 Page 62 of 62



                                      V. CONCLUSION

       For all of these reasons, Byrne respectfully requests that this Court enter an order

dismissing Dominion’s complaint with prejudice, granting such other and further relief the Court

deems just and proper.

Dated: November 17, 2021                     Respectfully submitted,

                                                     /s/
                                             Robert N. Driscoll (DC Bar #486451)
                                             Alfred D. Carry (DC Bar #1011877)
                                             McGlinchey Stafford PLLC
                                             1275 Pennsylvania Avenue NW, Suite 420
                                             Washington, DC 20004
                                             Tel: (202) 802-9999
                                             Fax: (202) 318-1084
                                             rdriscoll@mcglinchey.com
                                             acarry@mcglinchey.com
                                             Counsel for Defendant Patrick Byrne




                                                53
